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FBI Law Enforcement Bulletin: May, 1996.

Suspect Restraint and Sudden Death

 

By Donald T. Reay, M.D.

Dr. Reay is the chief medical examiner for King County, Seattle, Washington.

When hog-tied restraint is used to control violent suspects, officers can take precautions to prevent
sudden deaths.

One law enforcement technique for controlling violent suspects is to place them in a hog-tied and
prone position by binding their hands and feet together behind their back and placing them on their
stomach. This physically incapacitating position, however, makes it difficult for subjects to breathe
and can cause them to die.(1)

Because of the risks associated with hog-tied and prone restraint, officers must monitor subjects
closely for signs of respiratory distress. This article describes how hog-tied restraint can cause death,
what other factors might contribute to such a death, some steps that can be taken to prevent sudden
deaths, and what evidence law enforcement officers can provide to assist medical examiners during
death investigations.

Positional Asphyxia

When a hog-tied subject dies, forensic pathologists generally attribute the death in whole or in part to
positional asphyxia resulting from respiratory compromise. Positional asphyxia occurs when the
position of the body interferes with the person's ability to breathe. Breathing involves interaction of
the chest wall, the diaphragm, and the muscles of the rib cage and abdomen. Interference with proper
breathing produces an oxygen deficiency (known as hypoxia) in the blood,(2) which disturbs the
body's chemistry and creates the conditions for a fatal rhythm disturbance in the heart.

Contributing Factors

An examination of reported positional asphyxia-related deaths revealed that several other readily
observable factors can increase a subject's susceptibility to sudden death when officers place the
subject in the hog-tied and prone position. These include obesity and psychosis, which covers both
organic (i.e., paranoia, schizophrenia, etc.) and drug- or alcohol-induced psychotic behavior.

A large, bulbous abdomen (a beer belly) presents significant risks because it forces the contents of the
abdomen upward within the abdominal cavity when the body is in a prone position. This puts pressure
on the diaphragm, a critical muscle responsible for respiration, and restricts its movement. If the

diaphragm cannot move properly, the person cannot breathe.

 

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The second significant contributing factor is psychosis, often induced by drugs or alcohol. Drugs,
such as methamphetamine, cocaine,(3) and LSD, create a state of delirium frequently accompanied by
violent muscular activity. The mind-altering character of these drugs, combined with the added
outbursts of violent and vigorous muscular activity, can cause individuals to lose their breath more
quickly than expected. When the hog-tied position prevents recovery from such an oxygen deficit,
cardiac rhythm disturbances can occur, resulting in death.(4)

Other pre-existing physical conditions also can contribute to sudden in-custody death. Any condition
that impairs breathing under normal conditions will put a subject at a higher risk of respiratory failure
when a situation escalates to the point that hog-tied restraint must be employed. Heart disease,
asthma, emphysema, bronchitis, and chronic pulmonary disease fall into this category. Clearly,
officers subduing a violent subject will not be able to pause in the midst of the action to inquire about
the subject's medical history. It might be prudent, however, for correctional officials to be aware of
inmates' medical records and be alert for potential problems when using hog-tied restraint.

Prevention

Criminal justice professionals across the country have sought methods to ensure the safety of subjects
restrained in the hog-tied and prone position. The simple fact of the matter is that even if officers take
precautions, hog-tied and prone restraint is inherently risky. Therefore, instructors should stress
awareness and vigilance when teaching officers the proper use of hog-tied restraint.

First, officers must be made aware of the inherent risks of using hog-tied restraint. They should learn
how the adverse position affects a subject's breathing and how to recognize signs of respiratory
distress. They also must be able to recognize the factors that contribute to positional asphyxia.

Whenever hog-tied restraint is employed, officers should determine whether subjects have used drugs
or suffer from cardiac or respiratory diseases. Hog-tied subjects should not be left on their stomachs;
rather, they should be rolled onto their side. During transport, officers should ensure that hog-tied
subjects do not fall face-down in the back of the squad car.

Instructors must stress vigilance in monitoring the subject's condition. The process of hypoxia is
insidious, and subjects might not exhibit any clear symptoms before they simply stop breathing.
Generally, it takes several minutes for significant hypoxia to occur, but it can happen more quickly if
the subject has been violently active and is already out of breath. If the subject experiences extreme
difficulty breathing or stops breathing altogether, officers must take steps to resuscitate the subject
and obtain medical care immediately.

At present, no satisfactory alternatives to hog-tied and prone restraint exist. Police administrators who
wish to prevent deaths that occur during hog-tied restraint should not authorize use of the maneuver.
Yet, experience shows that sometimes no other type of restraint will control a violent, aggressive
subject. Until an alternative method of restraint is developed, officers must be aware of the risks,
vigilantly monitor subjects' conditions, and take every precaution to avert fatalities.

Death Investigations

When a subject dies while in the hog-tied restraint position, the autopsy sometimes reveals the
presence of significant natural disease, such as heart disease. For the examining pathologist, this
creates a dilemma. Should the death be attributed solely to the natural disease? Was the disease

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aggravated by the adverse position of the body? Or did the positional restraint alone cause the subject
to die?

Unfortunately, current postmortem technology alone cannot make such a determination. Hence, the
examining pathologist must make a judgment call. The pathologist needs three things to make an
assessment - an autopsy, a toxicological analysis of body fluids, and a detailed history of the events
surrounding the subject's death.(5)

First, a careful and complete autopsy can reveal whether a catastrophic natural disease, such as a heart
attack or stroke, caused the death. Similarly, toxicological analysis of body fluids for the presence of
drugs and alcohol can provide important information. Yet, such medical information cannot provide
the complete picture needed to determine the cause of death.

Police agencies can help by providing a detailed description of events that led to and occurred during
the restraint maneuver. Such a report should contain explicit witness statements about the subject's
behavior - especially noting any unusual physical respiratory signs, such as vocalizing, gurgling,
gasping, and difficulty breathing - as well as comprehensive circumstantial information about the
arrest, take-down, and restraint. The medical examiner can use this information to make a careful,
thoughtful analysis of the events in the context of the autopsy and toxicological findings.

Conclusion

Determining the cause of death of subjects who had been placed in the hog-tied and prone position is
one of the most difficult tasks in all of forensic medicine. Many factors can convene to cause
respiratory failure when officers use this restraint maneuver. If death occurs, law enforcement
agencies must provide medical examiners with a clear and complete description of preceding events,
so that doctors can determine the cause of death accurately.

Awareness of the potential for subjects to die in the hog-tied and prone position is the first step toward
stopping it from happening. Training in the use of hog-tied restraint, monitoring subjects, and
recognizing the signs of respiratory distress can help officers prevent sudden deaths.

 

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SIDEBAR

Caring for Subdued Subjects
To minimize the potential for in-custody injury or death, officers should:

Get hog-tied subjects off their stomachs

Determine whether subjects have used drugs or suffer from cardiac or respiratory diseases
Monitor subjects carefully for breathing difficulties/loss of consciousness

Be prepared to administer CPR

Obtain medical assistance immediately

Inform detention facility custodians of pre-existing medical conditions or respiratory difficulty.

DAARYN oO

Adapted from "Positional Asphyxia - Sudden Death," Bulletin of the National Law Enforcement
Technology Center, National Institute of Justice, June 1995.

 

To Return To Wherever You Came From
OR:

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Volume 32, Issue 1, Pages 116-117 (July 1998)
Positional Asphyxia

John D Howard and Donald T Reay
To the Editor:

The recent article by Chan et al' concerning restraint position and positional
asphyxia reports a well-done study providing further valuable insight into the
complex issue of sudden death during police custody. We were involved ina
similar study a decade ago and have reviewed this more recent work with great
interest.2 However, we are concerned with one aspect of the interpretation of the
results.

The authors measured significant differences in pulmonary function test results
between control and restrained individuals, but describe the changes as “not
clinically relevant.” Based on their findings, the authors suggest that factors other
than body positioning are more important determinants for the sudden deaths
that occur while in the restraint position. We agree that many factors should be
considered in evaluating a case of sudden death, but urge caution in the
application of clinical parameters to the situations of death in police custody that
prompted these studies.

As physicians, our training and experience have provided insight into matters of
clinical relevance. As forensic pathologists, our training and experience have
routinely provided insight into the spectrum of illness, injury, and death that
occurs, often quite literally, in the “street” and is not well known to clinicians. The
clinician’s involvement in such cases, if any, is at the end of an unsuccessful
resuscitation attempt. Applying only “clinically relevant” values to a measurement
may lead to misinterpretation of findings in deaths that occur outside the clinical
setting. For example, blood morphine levels founds in individuals who have died
after intravenous injection of heroin might well be considered “low” based on the
range of morphine levels commonly seen in hospitalized patients receiving pain
medication, yet these individuals are quite dead from the drug. Restrictive
pulmonary function alteration that may not be “clinically relevant’ might well be
one of several contributing factors in some deaths where restraint is used.

In the past decade, we have had the opportunity to investigate or review
numerous cases of death during law enforcement custody, involving various
forms of physical restraint. The processes leading to death in these cases

 
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developed well separate from any Clinical setting. Forensic pathologists see
cases of death that are caused by drug intoxication alone and others where
death is caused by positional or restraint asphyxia alone. Our experience in
reviewing deaths in police custody leads us to believe that multiple factors, rather
than one single cause, play a role in deaths where restraint has been applied.
The exact pathophysiologic mechanisms of death have not been fully defined.
Significant hypoxia from restraint may or may not occur, but a contribution from
the restraint position itself to death should not be dismissed.

There are now two controlled studies showing the restraint position to have a
measurable physiologic effect. An animal model for the physiologic effect of
restraint exists, which was mentioned briefly by the authors.° The model was
used to demonstrate that the combination of cocaine and “restraint stress”
produced an increased mortality in rats compared with cocaine exposure alone.
The case reviews, the controlled studies, and the animal model point to physical
restraint as being one significant factor in this type of death.

It is encouraging that further research is being done in this area, and we hope
that additional studies will be conducted.

 

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Restraint Asphyxiation in Excited Delirium

Ronald L. O’Halloran, M.p., and Larry V. Lewman, M.D.

Eleven cases of sudden death of men restrained fi a
prone position by police officers. are reported. Nine of
the men were hogtied, one was tied to a hospitel gurney,
and one was manually held prowe. All subjects were in
an excited delirious Slate when restrained, Three were
psychotic, whereas the others were acutely delirious from
drugs (six from cocsine, one from. methamphetamine,
and one from LSD), Two were shocked with stun guns
shortly before death, The Iltersture is reviewed and
mechanisms of death are discussed,

Key Words: Positional asphyxiation—Restraint as-
plyxiation—Exeited delirium —Coerine— Police cus-
tady death—Hoptie death—Hobbled (restrained) Sua
gun Meihamphetambiie —ESD.

 

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From the Ventura County Medicul Examiner's Office
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Examiner's Office (L.V.L.), Poriland, Oregon. Medical Ex-
aminer (R.L.O., Leb}.

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The “hogtied” prone position is commonly used
by police to restrain violent persons to protect other
people, property, and the subjects themselves dur-
ing transport io hospital or jail. Hoghwng means
binding a person’s wrists and ankles together be-
hind his or her back while he or she lies prone,
This may be accomplished by combinations of
handeuffs, cards, or specially designed hobbles.
Concerns have recently been expressed about the
safety of such prone restraint with positional as-
phyxiation postulated as the mechanism of death in
three reporied cases (1).

Six similar deaths fave been identified in Wen-
ture County, California, during the past 6 years,
two in adjacent counties, and three in Portland, Or-
egon. All cases involved law enforcement officers
and two also involved medical personnel, Because
of their exeited delirious condition, all of the vic-
tims were restrained io facilitate transport for med-
ical care or incarceration, To date, seven of the 11
cases have ended in wrongful death lawsuits against
the various public agencies involved. These cases.
are reported here to alert law enforcement agencies,
death investigators, and medical personnel that the
hogtied prone position in delirious people can hive
sudden, unexpected, lethal consequences, and re-
quires close monitoring or alternative restraint
metheds to prevent sudden death.

CASE REPORTS.

Case 1

Police were called to an apartment complex be-
cause a 29-year-old man was disturbing the peace
and damaging property. When police arrived, they
found six people attempting to control the suspect.
After a brief scuffle, police managed to handcuff
him and tie his ankles and wrists behind his back
in a hoptie fashion, He continued to struggle and
was placed prone, still hogtied, in the back seat of
the police car for transport to jail. He continued to
scream and struggle for ~5 min, When he suddenly

 
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stopped struggling, officers noted that he was not
breathing, They stopped. the ear, started cardiopul-
monary resuscitation, and called for an ambulones.
Resuscitation by paramedics was unsuccessful and he
was proncunoed dlead “sh Inter in the emergency nom,

Aulapsy findings included numerous superficial oon-
tsions and wbrasions and fresh needle injection sites on
a foot. Tio parastemal rib fractures were the only in-
ternal injuries. Slight coronary artery atherosclerosis was
present without microscopic evidence of ischemia, con
iraction-bind necrosis, or inflammation,

Postmareny wexicologic analysis revealed a blood
ethanol concentration of 0.08 g/dl and a blood cocaine
concentration of 0,6 mg/L.

Curse 2

Police were dispatched to a residence when rel-
alives reported that a 44-year-old man, who was
high on eacaine and had a knffc, was destroying
the house, Officers found the suspect screaming
and throwing furniture. The suspect broke a win-
dow with his fist and grabbed at an officer. With
the help of relatives, he was eventually handcuffed,
Officers canceled a call for an ambulance and trans-
ported him to the hospital im the back seat of the
patral car. When he began kicking at the car wine
lows, he was further restrained in a tiogticd, prone
position on the car seat. He was talking incoherently
ind stregsling for the first 8 min, but suddenly qui-
eied within two blocks of the hospital. At the emer-
gency room, he was not breathing and was asystolic.
Resuscitation attempts lasting 20 min failed.

Autopsy findings were minor abrasions and con»
tusions on the arms, les, and head, and a large
contusion on the back. Old needle track sears and
fresh needle punctures were in tattoos on the arms.
There were na internal injuries: The heart was slightly
hypertrophied, but microscopically normal.

Postmortem toxicologic analysis revealed a blow
cocuine concentration of O.34 mefL.

Cate 3

Police were dispatched to a freeway where a 41-
year-old man was running in the traffie lanes,
shouting, and waving his arms in an excited man-
ner, The subject kept shouting ‘‘Don’r let them get
mel Officers and civilians eventually had to re-
move him physically from the traffic, Because he
was combative and irrational, he was placed prone
an the ground with wrists and ankles restrained be-
hind tis back. He broke the first ankle restraint. AA
second ankle restraint was being applied while an
officer had a knee on the subject’s back when the
subject suddenly becaine quict and stopped breath-
ing. He was in the hogtied, prone position for ~4

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min. Paramedics transported him to the hospital
where am axillary temperature of 100,3°F was ob-
tained, He was pronounced dead within 30 min,

A. friend indicated that the subject had smoked
cocsine or methamphetamine several hours before
the incident and had become parandid and excited,
lallweinating that police were chasing him, Me had
lnadl a history of drug abuse,

Auiopsy findings were multiple minor skin abra-
sions, contusions, aid lacerations, and a large pat.
terned abrasion on ihe beck, Petechiae involved the
conjunctiva and pleura. Slight coronary artery ath-
erosclerosis was. present.

Portmortem toxicologic analysis revealed a blood
methamphetamine concentration af 0.95 mg/L.

Case 4

Police were called to a residemos because a 36-
year-old man was physically thicatening the owner
and desiroying property. Officers were confronted
by an uncooperative, delirious, violent person who
appeared to be on drugs. He was forced to the floor
and restrained with wrists und ankles secured be~
hind his back in a hogtie fashion. A pulse of 160
beats/min wes noted by one officer, The suspect
was carried outside to the front walkway where he
wad placed prone witils officers searched the resi-
dence and called an ambulance, When paramedics
arrived, the subject was without vital signs, Resus-
citntion attempts at the scene and at the emergency
Toon Were tnsuceessful and he was pronounced
dead 30 min later, He had not been closely ob
served during the 20 min that he was hogtied on
the walkway and it was unclear when he actually
stopped struggling. The subject had a history of
prior cocaine and heroin use,

Autopsy findings were numerous superficial oon-
tusions and abrusions, many of which were prab-
ably self-inflicted, and fresh needle injection sites
on the left arm.

Postmortem taxicologie analysis revealed the fol-
lowing bleod drug levels: cocaine, 0.28 mg/L; ben»
zoylecgoning, 3.2 mg/L; and morphine, 0,06

mal.

Cuse 3

Police were called to a residence where a man
had barricaded himself and minor children inside,
Officers brake in to find the subject standing an a
bed and waving a beer bottle. He was violent and
screaming irrationally about people trying to kill
him. Officers. handeuffed him and broweht him,
struggling and screaming, to the police station,

In the police station parking lot, the subject was
placed prone on the ground in an attempt to shackle

 
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his ankles. He grabbed an officer and several baton
blows and stun-gun shocks were used to loosen the
grip. He was carried into the police station where
he was placed prone on the floor, still screaming
and thrashing. Officers used the stun gun spain while
placing a leather restraint belt on him, atiaching his
wrists to it and shackling bis ankles. Police reports
do not indicate how much weight was placed on
the subjects back or whether the ankles were raised
behind the back. Officers moticed Uie subject’s res-
pirttory distress and called for medical aid, but re-
suscitation attempts failed and he was pronounced
dead V4 h later. Police reports indicate that several min
utes of struggling imervened between the last stun-gin
shock and the subjects respiratory arrest.

Autopsy findings were minor cutaneous abrasions and
bruises, several paired, punctate, eryihematous lesions
on the skin of the back from the stun-gun prongs, and
focal nyyocurdinl contraction-band necrasis.

Postmortem toxicologic analysis revealed a blood
ethanol concentration of 0.13 gid and a blood cocaine
concentration of 0.915 mpi.

Case 6

Police were called to a hospital room where staff
were attempting to cantrol a violent, schizophrenic,
24-year-old male patient who was being evaluated
for atrial flutter. Officers used o nightstick and stun
pun in controlling the subject. The patient was
eventually strapped, prone, to a hospital bed and
was transported across a parking lot to a mental
health facility. During transport, police used a Tas-
er’s antennae on him several times for unclear rea-
sons. The Taser was used several more times in the
mental health facility while removing restraints and
placing handcuffs behind the patieat’s back. He was
then, carriéd inte the iselation room and placed prone
with wrists and ankles secured to the bed. Within
a minute he had ceased strogeling and within sev-
éral minutes he had ceaged breathing, Resuscitation
attempts faifed.

The patient had had a long history of schizo-
phrenia. One month priat to death, he had been
hospitalized for malignant neuroleptic syndrome.

Aulopsy revealed moderate coronary atheroscle-
rasis without evidence of ischemia. The only ex-
ternal lesions were minor abrasions of the wrists
and ankles. No electrical bums were seen.

Porimortem toxicologic analysis demonstrated
boad concentrations of amobarbital of 1.9 mg/L
and lorazepam of 0.15 mg/L, both consistent with
therapeutic levels of drugs given in hospital,

Case 7
Police were called to a home where a l4-year-
ole! boy, who was reportedly an a bad LSD trip,

had jumped through a window and cut his leg. He
Was screaming obscenities, talking incoherently, and
spitting. {t took four adults to restrain him and
transport him to the hospital emergency room, Be-
cuuse of his constant strugeling, attempts to suture
his lacerations were halied and, prone on a hospital
gurmey, with his hands cuffed behind his back, he
was transported three blocks to a juvenile detention
center. Still strugeling and spitting, he was placed
in soft restraints and hogtied. The subject's father
reported that manual pressure was applied to his
back and shortly tiereafier he went limp. He was
carried to a padded room, placed prone on the floor,
and within a minute was discovered to be uncon=
scious and mot breathing. He was rushed back fo
the hospital where he died alter 7 days in a coma.

Autopsy findings were negative for injuries or
other abnormalities.

Toxicological tests of admitting blood samples
from the hospital were pasitive for LSD only,

Case §

Police were summoned by a neighbor who re-
parted a 28-year-old man with a gun who was act-
ing: bizarrely and hiding behind bushes, but police
didn’t make contact with the subject. Seven hours
later, be was nude at work, bathing in a sink, and
the police were called again. The nude subject fled
and entered a small stove where he attempted to
hide under shelves. He was yelling, kicking, spit-
ting, and biting as he was restrained and hand-
cuffed, prone and hogtied on the floor. One officer
was kneeling on his back and others were restrain-
ing his arms and legs for ~4 min, when he sud-
denly lost consciousness. Paramedics transported
him te the hospital where he was pronounced dead
minutes later.

Neighbors stated that the subject had snorted and
smoked cocaine and had been acting strangely for
3 months. The only autopsy findings were abra-
sions and contusions of the arms, legs, and trunk.

Postmortem taxicologic analysis revealed a eo-
caine concentration of 0,70 ng/L in blood ard am-
phetamine in urine.

Case 9

A 37-year-old manicdepressive man was in a
manic phase when he took his family hostage, Por
lice were called and after a struggle he was re-
strained prone with ankles and wrists tied behind
hig back. At some point during restraint, he lost
consciousness and stopped breathing. Cardiopul-
monary resuscitation was unsuccessful and he was
pronounced dead at the hospital.

Autopsy findings were abrasions and contusions
along with @ bicuspid aortic valve.

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A therapeutic level of valproie acid (24 mg/L)
was. in his pastmortem blood.

Case 10

Police were called because a 37-year-old “wild
man” with a history of chronic schizophrenia was
trying to rip off the top of a car to free somone
inside, although the air was unoccupied. The kta
asked police to euff him because he was ‘erazy.”
He was placed in the back seat of the patrol car,
but attempted to kick out the windows and was
removed from the car. He was placed prone on the
ground and hogtied with handcuffs and leg re-
strainis. Following bricf scizures, he siopped
breathing. Resuscitation attempts failed and he died
within an howe at hospital,

He had tad a history of chroni¢ schizophrenia.

Autopsy findings were ligature marks on the wrists
and ankles, small abrasions and contusions of the
face, and mild cardiomegaly.

A toxic level of amantadine (Symmetrel} was
found in the victin’s blood,

Case 1)

Police were called because a 33-year-old man
was acting irrationally and trying to kick down a
door, Friends said the subject thought somcone was
going to shoot him. Me ran when police ap-
proached, but was eventually caught. Batons were
used and he was eventually restrained in a pranc,.
hogtied position on the ground. An estimated 2 min
after being restrained, offtcers heard him say “*]
can’t breathe’* and, 1-2 min later, he Jost con-
sciousness, stopped breathing, and was transported
to a hospital, where he was pronounced dead. He
was noted to have been sweating profusely, but no

_ temperature was tken,

Autopsy findings were external injuries consis-
tent with a striggle and baton blows, but no internal
injuries.

Postmortens toxicologic analysis revealed a blood
cocaine concentration of 2.4 mp/’L, a blood ben-
goylecporine concentration of 4.3 mg/L, and a blood
éihanel concentration of 0.04 g/dl.

LITERATURE REVIEW

These cases exemplify a syndrome that we will
refer to as positional asphyxiation during sesteaint
in excited delirium, or restraint asphyxlation.

These cases are remarkably similar. All were
young men who exhibited the gente onset of trra-
tional, aggressive, violent behavior with parancid
features, referred to as excited delirinm (2,3). The

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behavior was so frightening that im sll cases the
police were called,

Excited delirium, or delirious mania, is a rare
form of severe mania, sometimes part of the spec-
trum of manic-depressive poychasis and chronic
schizophrenia. It is characterized by constant, pur-
poséless, often vialent activity coupled with ine.
herent or meaningless speech and hallucinations with
paranoid delusions. Such peaplé can be dangerous
and may die of acute exhaustive mania (4). Myper
thermia is often part of this syndrome. Cases G, 9,
and 10 involved chronic psychotics, bul their tem
peratures were not recorded,

The rest of the cases. are examples of drug-as-
sociated acute extited delirium, mostly cocaine in-
duced, In 1981, Fishbain and Weill reported a case
of fatal cocuing intoxication with delirium in a body
packer (3). In 1985, Wetli and Fishbain reported
the deaths of seven recreational cocaine users who
developed aeute excited delirium (3). Five involved
police custody and three were hogtied in & prone
position. One death occurred while the victim was
prone with the wrists cuffed behind the back. Ankle
positioning in this case was not mentioned. One
was handcuffed in a police car when he stopped
breathing. His position was not noted, One was
restrained in an emergency mom. Position was not
noted, One died from abdominal injuries sustained
prior to heing hogtied, All but one of the deceased
were men. Blocd cocaine levels ranged from 0.4.
to 0.92 mp/L. Four had documented hyperthermia,
The authors attributed the deaths to cocaine intox~
jention of an atypical type and speculated that dn
mechanism of death might involve autonomic re-
flexes, toxic cardiac dysrhythmia, or “‘restraint
stress,” ais has ben postulated with acute exhaus-
tive mania. The potential adverse effect of hypoxia
due to prone restraint was not mentioned.

In 1987, Weth described perplexing deaths as-
socinicd with cocaine intoxication following an acute
psychotic reaction tenmed ‘excited delirium” (2).
He described paranoia, disrobing, hypenhennia, and
ageression toward glass as common components,
along with unusual streneth, Typically, subjects
continued to struggle after being restrained, andl they
died suddenly, frequently in the back of police cars.

In 1988, Reay et ab. reported that the prone, hop-
tied position protonged tke recovery time of heart
rate and peripheral blood oxygen saturation in 10
normal adults after moderate exercise (6). In his
$992 report, Reay deseribed three deaths occurring
during police transport (1). Two of the people were
hogtied while prone on the back séuts of police
cars. One was prone with wrisis cuffed behind his
back anc ankles bound with knees flexed, but was

 
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not hogtied. Two of the three slid forward on the
back seat such that ane was on the Moor of the car
between the back and front seats and one was par-
tially wedged between the back seat and the front
seat backrest. One was licard to say “Gimme some
air.’ All were taken inte ewstedy for violent, agt-
tated behavior. Two had major psychiatric Mlnesses
that explained the behavior, and one was under the
influence of alcohol, LSD, and TIC {tetralyydro-
cannabinol).. Body temperatures were not reported.
All three deaths were altributed to positional as-
physia. The authors discussed physiologic mecha-
nisms of death during prone restraint and the
importance of scene and history investigation in
conjunction with autopsy and toxicologic findings.

in 1991, Kormblum and Reddy reported 16: fa-
ialities of young men involving police confronta-
tions where Taser puns were used (7), The Taser
is a hand-held electrical control device that ulilizes
harbed darts connected by thin wires to ¢ 9-V-bat-
tery pack, that delivers high-vollage, very low am-
perage, pulsed current to cause immobilization
through painful muscle spasm. In all cases, the po-
lice were called because of bizarre, and in some
cases aggressive behavior. Most subjects died be-
tween 15 min and J h after Taser usage. All but
three had either cocaine, methamphetamine, oF
pheneyelidine in their blood at tinte of death. Three
died from gunshot wounds. Some of the others died
while restrained, but nat enough detail was. given
io identify cases that might fit into the syndrome
of positional asphyxiation during resiraint., Electio-
eution was not the cause of death in any of the cases
in the opinion of the authors, who believed that the
common thread in such sudden, unexpected deaths
while in police custody was drug use leading to
bizarre behavior.

Cases 5 and 6 in the current series also involved
electrical contol devices. In case S, a Nova stun
gun was used. ‘The stun gun wis similar to the Taser
except that the electrical shock was delivered vin
two short prongs, 2 inches apart. In case 6, first a
Nova stun gun and later the antennas of a Taser
were used. In neither case did the shocks appear bo
cause death directly, as several minutes of activity
followed the shock application.

In 1992, the San Diego Police Department and
the San Diego County Medical Exaniiner’s Office
issued a final unpublished report prepared by a cus-
tody death task foree (8). The report was circulated
throughout the United States to police departments
that participated in a survey. The deaths of five
men, aged 28-11, who fit into the syndrome of
sudden death white restrained because of excited
delirium were briefly summarized, In four cises,

police were called because of bizarre, violent be-
havior, In the other case, police were asked to help
locate a mental health hospital escapes. All were
agitated and delirious when placed in prone re-
straint by police. Two were hogtied in the back
stats of police cars when they stopped breathing.
One was handeuffed and tied toa gurney. One was
handevffed while prone, but methods of restraint
were not further described, One was handcuffed
with ankles bound, but whether or not they were
secured behind his back was not detailed. In four
of the cases, cocaine induced the acute psychosis.
In the other, the acuie psychosis was a manifesta-
tion of chronic schizophrenia, In one, a rapid pulse
was described, One was documented to be hyper-
thermic. Two were noted to be sweating profusely
and ane was nude. Three of the ceaths were certi-
fied as accidental and two were called homicides.
The San Diego Custody Death Task Force na-
tional survey results provided insufficient detail from
respondents to comment on the number or fre-
quency of “hogtie’’ deaths mationwide, but it did
indicate that of the 142 police agencies that re-
sponded to the survey, 43 authorized their officers
to wse Hse hagtie procedure. On the basis of the task
force findings, the San Diego Police Department
has banned the practice of transporting subjects
hogtied and prone in the back of police vehicles.

DISCUSSION

The 1] reported cases ars summarized in Table
L. All of the deceased were male, ranging in age
from. 14 to 44 years. In all cases. police were called
because of wild, threatening, or bizarre behavior,
and in all cases it took several people to control
and restrain the subjects. In all cages they continued
to strugele while restrained initially, and minutes
later were noticed to be unconscious or dead. Adl
subjects exhibited behavior that could be charac-
lerized a8 acute mania, acute psychosis, or, mare
descriptively, agnte excited delirium, The duovatian
of the observed delirious behavior ranged from ~6
h in case 8 to <1 h, In two cases, @ racing pulse
was documented. One case involved undressing, at
least three involved breaking ghiss, and, in one, &
slighily elevated body temperature was noted, but
temperatures were not recerded in the rest of the
CASES,

All subjects were restrained in a prone position.
Nine were hagtied when they lost consciousness:
two in the back seat of police cars, five on the
ground, and nwo on the floor, One was tied on a
gurney and one was restrained by several officers
manually holding arms and legs along with knee
pressure om the back.

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ood RL. O'HALLORAN AND L. Fo LEWMAN
TABLE 1. Sunvnary of casos
Mathed of Listed manner
Case Age Reason pollen called promo resiraial Cause of dallum Listed cause of dowth | of doath
1 23 Proporly damage Hopted In pokoo Cocaine and Acula cocalrin towiclly Accident
Gar aloo
2 44 Proparly damagal Hogtied In pots Cocsina Cocaine dolium! Accicont
é _ kalfe tar paaltional asphyla
3 at Klan on lroovway Wise = bags Miothampheiaminn Brugger! oxsibod dotiriun — Accicont
Og
6 = Threslaipregerty Hogtied an ground = Cecuina and Cocalmulnarcatic toxicity «= Accidaat
distnge nagealie
S a4 Ghadraa inser Stun quny wrists Cocaing and Cacaleo oxctod dolitim  Accicont
hislaga are ankles tied; alsahol
knead on back
& aa Widlence in hospaal = Tied prone io Schizephrariia Coronary diseaia! Undetermined
guvnay; Sian gun achizephrarda/ssun
gun
7 14 Solf-inficted injuries = Hoglied gurnoyt LSD LSD paychosis Aceleord.
fince
8 2a Nunta mun wilh qua = Knap ca back; Cocaing Cseaina deluium Aacidart
anms and Logs
held
a av Family taken Beglied on ground = Manivpsychiosis iMania/posa inna Ageliara
hestage agahyxin
10 47 «= Wid manaltacking «© Kegtled cn ground = Shizophrondal Amaniading nyverdsrn Acckdan
ear _ amantadine
14 3300 WEd man on strat = Hoglidt! oa ground ip aie Caceing towisty Aceon
foaba
Cocaine toxicity appeared to be the primary fac- CONCLUSIONS

tor causing the excited delirium in six cases. Acute
delirium as a manifestation of underlying chronic
psychosis occurred in three cases. LSD and meth-
amphetamine precipitated (he acute delirium in ane
ease each. A high toxic level of amantadine was
found in the blood of one schizophrenic. Amanta-
dine has been reported to cause psychosis, confu-
sion, hallucinations, aggressive behavior, and
seizures at toxic levels (9) and may have precipl-
tated the delirium.

The wide variation in terminology used to certify
the causes of death reflects the multiple factors that
appear to culminate in these deaths, Psychoactive
stimulative drugs, especially cocaine, can precipi-
inte an excited delirium. An aciite exacerbation of
a chronic psychosis ean do the same. Sudden death
in agitated, manic psychiatric patients hus been rec-
ognized for many years. The cause of such deaths
has been postulated to be neurally mediated cardiac.
arrest. Such deaths have been secn both in patients
and in atimals placed in restraints (10). Drugs such
as cocaine and amphetamines can, of course, cause
death without positional asphyxiation from restraint
as a factor, but the frequency of sudden death in
people restrained prone while in a state of excited
delirium, compared with the rarity of sudden death
in such people when not restrained, implicates re-
straint 4% a causative factor in such deaths.

via J Ponate Afed Pathol, Bail, Ba) Np, i [0

Sudden death of people who are in a stale of
agitated delirium during prone restraint appears to
be a not uncommon phenomenon that has been rec-
agnized for years but infrequently reported in the
meédiéal literature.

The mechanism, of death appears to be a sudden,
fatal cardiae dverhytlmia or respiratory arrest in-
duced by a combination of at least three possible
factors relating, to increased oxygen demands and
decreased oxysen delivery. First, thé psychiatric or
drug-induced state of agitated delirium coupled with
police confrontation undoubtedly places catechal-
amine stress on the heart. Second, the hyperactivity
associated with agitated delirium coupled with
straggling with police and against restraints un-
doubtedly increases the oxygen delivery demands
on the heart aod lungs. This is supported by the
several cases Where rapid pulses were documented.
Finally, the hogtied! position clearly impairs breath-
ing in situations of high oxygen demand by inhib-
iting chest wall and diaphragmatic movement. Reay
el al. reported a case where a hoglied subject ¢x-
claimed that he couldnt breathe just before he suf-
fered cardiac arrest (1). Case TL is sirnilar im that
the subject cried out that he couldn't breathe just
before dying.

The mechanism of death in these cases falls into

 
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the extegory of positional asphyxiation. The sub-
jects are made more susceptible to sudden death
during pronc restraint by their condition of excited
delirium. In that regard, their deaths are similar to
other positional asphyxiation deaths commonly seen
in neurologically compromised people, such as epi-
leptics or people rendered stuporous by alcohol or
drugs, who fall into positions that restrict breathing.

In all but one of the reparted cases, and in most
of the San Diego cases, the manner of death was
certified as accidental. If seems reasonable to con-
sider these accidents rather than homicides since
prone, hogtied restraint was not generally consid-
ered “potentially lethal force’” by most police de-
pariments in the recent past.

As information about the potential lethality of
prone restraint in excited, delirious people has been
disseminated, some police agencies have climi-
nated hogte restraints us 2 means of controlling
violent subjects. In light of the possibility of sudden
death, it seems both humane and prudent to develop
some safer méans of control and protection. De-
vices are currently marketed for allowing full re-
straint of subjects while they are in a seated position.

At a minimum, prone, hogtied subjects should be |

closely monitored for vital signs while awaiting or
being transported for medical cans.

Acknowledgment: We thank Dr. Brian Blackbourne
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findings of the San Diego Custody Task Force,

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Restraint asphyxia in in-custody deaths
Medical examiner’s role in prevention of deaths

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Abstract

In the United States, the office of the Medical Examiner-Coroner is responsible for investigating all sudden and unexpected deaths
and deaths by violence. Its jurisdiction includes deaths during the arrest procedures and deaths in police custody. Police officers are some-
times required to subdue and restrain an individual who is violent, often irrational and resisting arrest. This procedure may cause harm to
the subject and to the arresting officers. This article deals with our experiences in Los Angeles and reviews the policies and procedures for
investigating and determining the cause and manner of death in such cases, We have taken a “quality improvement approach” to the
study of these deaths due to restraint asphyxia and related officer involved deaths, Since 1999, through interagency coordination with
law enforcement agencies similar to the hospital healthcare quality improvement meeting program, detailed information related to

the sequence of events in these cases and ideas for improvements to prevent such deaths are discussed.

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Keywords: Restraint asphyxia; Positional asphyxia; Custody death; Hogtying restraints; Forensic medicine; Medical examiner-coroner

 

1. Introduction

In California, by State law, the Department of Medical
Examiner-Coroner is an independent investigative agency
responsible for the official investigation of all sudden and
unexpected deaths, deaths by violence or deaths under sus-
picious circumstances. Many states have laws extending
jurisdiction to investigate deaths due to infectious diseases
that constitute a public health hazard, deaths during ther-
apeutic and diagnostic procedures, and case review before
cremation. The medical examiner also has jurisdiction to
investigate deaths during custody of law enforcement and
justice agencies. Although the medical examiner in the
United States is an independent agency, we work with
law enforcement agencies in the investigating of homicide
cases, including officer involved deaths and deaths while
under custody.

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In 1988, Reay et al. [1] first reported on an experimental
study on the detrimental physiological effects associated
with the “four point restraint” procedure, commonly
known as hogtying or hobble restraint. In a subsequent
paper in 1992, Reay et al. [2] reported on three cases of
deaths from positional asphyxia after the victims had been
placed in a prone position in the rear compartment of a
police patrol car. O’Halloran et al. in 1993 [3] reported
on eleven cases of sudden death of men restrained in a
prone position by police officers. Nine of the men had been
hogtied, one had been tied to a hospital gurney, and one
was manually held prone. All subjects were in an excited
delirious state when restrained. Three were psychotic, and
the others were acutely delirious from drugs (six from
cocaine, one from methamphetamine, and one from
LSD). In a second paper [4] O’Halloran reported on two
additional cases of deaths of psychotic patients under
restraint. ”

In the Los Angeles cases reported in 1995 by Stratton
et al. [5] two unexpected deaths occurred in restrained
(hogtied) agitated individuals while they were being

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transported by advanced life support ambulances. Law
enforcement personnel had placed both patients in hobble
restraints. Toxicological analysis revealed non-lethal levels
of amphetamines in one patient and non-lethal levels of
ethanol, cocaine, and amphetamines in the other. Stratton
et al. in 2001 [6] reported on 18 other cases of such deaths
witnessed by emergency medical service (EMS) personnel.
In all 18 cases, the individuals had been restrained with
the wrists and ankles bound and tied together behind the
back. Associated with all these sudden death cases was
struggle by the victims against the forced restraint, fol-
lowed by cessation of struggling with labored or agonal
breathing immediately before cardiopulmonary arrest.
Also associated were stimulant drug use, chronic disease,
and obesity. The report noted that unexpected sudden
death when excited delirium victims are restrained in the
out-of-hospital setting is not infrequent and can be associ-
ated with multiple predictable, but usually uncontrollable,
factors.

2. Death investigation — policy and procedure

In Los Angeles, the following standards, policy and pro-
cedure were established for investigation of such deaths: 1.
Investigative aspect, 2. Autopsy and specimen analyses, 3.
Management of cases, 4. Cause and effect analyses with
the aim of prevention.

2.1. Investigative aspect

In-custody deaths include deaths that occur during
apprehension by police officers, and deaths while the sub-
ject is detained or incarcerated in a public institution.
When death occurs under these circumstances, it is the duty
of the Medical Examiner-Coroner staff to respond to the
scene, take charge of the body, and investigate the circum-
stances surrounding the death. These situations often trig-
ger accusations and emotional outbursts by the family
members and community activists, and can also lead to lit-
igation. Investigations into the cause and manner of these
deaths, therefore, require sensitive, timely and thorough
processing, since it is expected that scrutiny by investigative
agencies, the media, and the pubic as well as the families
will follow. In Los Angeles County, the team approach is
used in handling these cases. Such deaths raise the question
of the use of excessive force, procedures which are illegal,
or have high risk of causing injury or even death, so the
inquiry extends into the possibility of illegal acts of com-
mission or omission of the police department in restraining
the arrestee, resulting in death.

The police department is often concerned about undue
lawsuits against the department and criminal prosecution
of the involved police officer. The Medical Examiner’s role
in these cases is to handle them with sound, thorough
investigation by a systematic process of observing, record-
ing, gathering and preserving evidence and information
and by subsequent analyses of the data with the goal of

rendering a cause and manner of death, and to communi-
cate with the police department to elucidate the cause
and mechanism of death, and provide the key information
for prevention of similar deaths in the future.

2.2, The standard autopsy procedures

A well-qualified forensic pathologist is assigned to con-
duct such autopsies. The external examination should be
meticulous. The pathologist should note and record even
faint subtle bruises and abrasions. They may later become
important, correlating circumstantial investigative findings
with injuries, particularly the time of injuries. The direction
of force of abrasion may become a crucial issue. Equal
importance should be placed on any absence of injury on
the head, neck, upper extremities as well as the lower
extremities and the genitals. If there is any evidence of
physical contact to the decedent, it is presumed that the
contact may be the lethal act and all caution should be tak-
en to properly document it. For the examination of the
neck, it is important to look for petechial hemorrhages in
the conjunctivae and the buccal mucosa in conjunction
with hemorrhages in the neck. It should be noted that
any injury or existing natural disease could act in concert
with or be contributory to the cause of death. Complete
and thorough detailed documentation of all findings is
essential as the basis of assigning the proximate cause of
death. Special procedures to be followed for reducing the
chance of missing important findings include:

(i) Multiple photographs should be taken to document
each injury with a ruler.

(11) To compare the pattern, photographs should be
taken at vertical angle.

(iii) Photographs should include whole body/all aspects.

(iv) Photographs may need to be enlarged to see the
details, so use fine grain negative film with adequate
lighting, so that magnification can be done without
loss of resolution.

(v) The medical examiner should collect samples of hair,
fingernail clippings, oral/genital swabs and preserve
clothing and other articles that may be related to
the death. These items should be placed in properly
aerated containers to prevent decomposition of the
biological evidence.

(vi) X-ray of the neck should be taken, even if externally
negative. For further detailed study, postmortem
vertebral artery perfusion is recommended,

(vii) Save adequate specimens and conduct toxicology
studies including carboxyhemoglobin, volatiles, and
drugs of abuse as indicated

(viii) Where indicated, microscopic studies on heart, lung,
liver, and kidneys should be conducted to assess
existing disease.

(ix) Specific attention should be directed to injury areas to
estimate time of injury. Meticulous documentation
and correlation of the injury should be included.
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(x) For assessment of finer neuropathologic changes, the
brain and spinal cord should be fixed and examined
by a neuropathology consultant as warranted.

In cases of death in prison or jail, in order to understand
the incident better, it may be necessary to obtain informa-
tion from the victims custodian and other inmates. Prison
riots and gang activity may also result in deaths in prison
custody and are important factors in coming to a
conclusion.

2.3. Management of the case

For overall management of the investigation with focus
on the search for reliable information and rendering a
reasonable conclusion, a number of points need to be
understood. There may be pitfalls in in-custody death
investigation. The final conclusion may have a great impact
on the community and agency policy making, so it is
important to use caution in recognizing injury as the pri-
mary or contributory cause of death. If injury contributes
to death, the death is assignable to the injury event, regard-
less of the nature and extent of an existing primary natural
disease. Careful assessment to evaluate whether events are
coincidental or related must be on “‘the scale’ used to
assess the death. Premature and inappropriate release of
information to a suspicious public may result in suspicion
of unwarranted and inappropriate conduct by authorities.
At the same time, it is more harmful not to release informa-
tion that may often be interpreted as concealment of
misconduct. Before release of information, all work and
evaluation should be completed, but it must be in a timely
fashion. Conclusions must be circumspect.

In Los Angeles County, when the manner of death is
classified as homicide, this only means that a person died
as a result of a direct action of another person. It means
the death was at the hands of another. Further note that
the term murder is a legal classification that should only
be used by charging authorities, ie., the district attorney.

2.4. Cause and effect analysis and special consideration

Assignment: The in-custody death investigative team is
assigned to investigate such cases at scene. The Chief Med-
ical Examiner-Coroner and the Chief of Forensic Medicine
Division will conduct the final reviews. In order to review
those cases, it is necessary to be able to reconstruct the
scene,

Necessary documentation: At-scene investigation of the
undisturbed body is necessary. If paramedics have removed
the body for emergency care, it is necessary for the medical
examiner to review all photographs and descriptions of the
scene taken and provided by the investigating agencies. All
available preliminary information is taken into consider-
ation before the autopsy is performed, but all information
must eventually be confirmed. The records of the police
agency are reviewed, including all statements of persons

who witnessed the event and persons who were in proxim-
ity to the scene of death.

Information on restraints in detail: If physical restraint
was used, a detailed description of the method of restraint
is necessary. The description should include: (a) what type
of restraint, (b) what period of time, (c) position of victim
when the restraint was applied and during the restraint
period, the final resting position, (d) any use of arms,
shackles, handcuffs, flexcuffs, choke hold, the use of taser,
pepper spray or any additional restraints, such as hogtying.

Approach in investigation of in-custody deaths: The Los
Angeles Office looks at the types of restraint measures
used, which can include the use of pepper spray, taser,
swarm techniques, baton use, handcuffing, ankle restraint,
four point restraint or hog-tying, etc. Investigation looks
into whether or not these restraining procedures were
applied separately, intermittently, or together. It is impor-
tant for us to also know how many officers were involved in
apprehending or subduing a suspect who required restraint
or use of force. We then look at how long and what types
of restraint measures were applied. We gather independent
observations regarding the consciousness, mobility, and
actions of the suspect during this process. When a victim
had been taken to a hospital, we evaluate the paramedic
report, the medical treatment and the hospital toxicology
reports, and include obtaining the hospital blood for fur-
ther toxicological analyses. The autopsy is most compre-
hensive for these types of cases and includes fluoroscopy
and X-rays as needed. Neuropathology studies and micro-
scopic studies are generally performed/supervised by one of
our full time, Board Certified staff pathologists. During
autopsy, we also look for injuries, preexisting medical
conditions, and drug intoxication.

3. Medical examiner’s role in prevention of death

The critical aspect in each case is the chronology of
events. We rely heavily on independent observations, as
well as the internal review process by the law enforcement
agency. Paramedics should be reminded to take body
temperature as part of their evaluation. In the past we have
experienced difficulties in acquiring information due to the
fact that officers involved in the apprehensions often exer-
cised their Fifth Amendment rights against self-incrimina-
tion guaranteed by the U.S. Constitution. Typically, we
experienced the following types of cases: During a “swarm-
ing” technique, several officers try to handcuff an unusually
heavyset large suspect and apply ankle restraints. Often-
times a baton is used to bring down the suspect and usually
the suspect ends in a face down position often with officers
kneeling on or sitting on the arrestee. Even though the
actual “hog-tying” procedure may or may not have been
a factor, multiple officers sitting on the back of an obese
person can restrict his/her respiration. Hence the term, “re-
straint asphyxia,” is used to described the cause of death in
these cases. The role of the Medical Examiner is not only to
determine the cause and manner of deaths, but also to take
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action in informing the appropriate agencies to reduce
unnecessary deaths and suggest appropriate actions for
correction.

In Los Angeles County, the Chief Medical Examiner-
Coroner (CME-C), noting these cases of deaths during or
following police arrest procedures, communicated with an
official letter to the Office of the City Attorney (Sathyava-
giswaran, personal communication), informing them of the
Coroner’s Office procedures and findings, suggesting that
the district attorney’s office and/or the city attorney’s office
should institute an independent investigation or field a
response team to check into the police arrest procedures
resulting in these deaths. Further suggestion was made that
in these situations paramedics should also be summoned at
the same time as the police, so medical assessment of the
individual disturbing the peace can be made immediately.
These individuals are often under the influence of drugs
and/or have preexisting medical conditions.

It was strongly suggested that these incidents be video-
taped in entirety whenever possible. Videotaping is very
useful for studying the activities of the victim before appre-
hension and the effect of the restraint maneuvers used.
When restraint is used, it advised that apprehended sus-
pects be placed in the lateral decubitus or sitting position
and to avoid placing them in a face down position, placing
weight on their back, and hogtying them. At the first sign
of physical difficulty, take him/her to a hospital where spe-
cialists are available to evaluate and clear the person before
he/she is taken to a jail facility.

Finally, the Medical Examiner suggested a multi-disci-
plinary team conference to evaluate the sequence of events,
so there is consistency in information provided. A strong
message was sent to the City Attorney’s Office by the
CME-C that hog-tying compromises lung volume and
respiratory function and recommended the use of alterna-
tive restraint maneuver. In response to a grand jury recom-
mendation, since October 1999 in Los Angeles County a
multi-disciplinary team composed of representatives from
the police departments, the sheriff's office, the district attor-
ney’s office and the Medical Examiner have met regularly
in a forum to freely exchange information and ideas to
address areas of mutual concern and improve the arrest
procedure to reduce injury and prevent deaths.

4. Manner of death

Concerning classification for the manner of death, Los
Angeles County Coroner’s Office established the following
standards for determining whether or not deaths following
a hog tying incident should be determined as homicide or
undetermined. In a joint meeting with the DA and police
chiefs, the CME-C indicated that if the following combina-
tion of multiple factors is involved, the manner of death is
classified as undetermined. The factors are (1) obesity and
enlargement of the heart, (2) laboratory tests show drugs in
the system, (3) psychiatric history and psychotic reaction,
(4) high risk (unsafe) arrest procedure, (5) insufficient

information to explain the sequence of events, (6) either
insufficient information or conflicting information which
affects the Medical Examiner’s ability to make a final deter-
mination. The Medical Examiner may determine the man-
ner of death as undetermined as a signal to law
enforcement that the case warrants more in-depth investi-
gation to try to answer some of the questions surrounding
the death. Undetermined is also used by the Department of
Coroner when the autopsy findings do not establish any
specific cause of death, such as the case of a young person
without heart disease or other existing diseases, no drug in
the system, yet dying following the restraint procedure.
When the manner of death is determined to be homicide,
it simply means the death was at the hands of another.

5. Discussion
5.1. Mechanism of death

There has been much discussion as to whether or not
the prone position per se would cause death of a hog-tied
individual. Reay et al. in 1988 [1] reported on the effects
of positional restraint on oxygen saturation and heart
rate, and noted that positional “hog-tie” restraint induced
prolonged recovery time. He concluded that persons
placed prone, handcuffed, and “hog-tied” expire as a
result of the physiological effects produced by positional
restraints and reported deaths of hog tied individuals were
due to “positional asphyxia.” Other reported cases of
deaths of hog-tied individuals [2] all indicated that the
hog-tied persons had been placed prone (face down) on
a surface.

A Los Angeles County Coroner study (Rogers C, Rus-
sell MA, Eckstein M, Mallon W, Aguilar G, unpublished
observations) monitored the heart rate and blood oxygen
saturation of 10 subjects in four-point restraint in the hyper
extended position, and compared this with restraint using
two commercially manufactured restraint devices. Posi-
tional differences were studied. The subjects were placed
in the prone and left lateral decubitus positions. Recovery
of heart rate after exercise was significantly better with the
limbs partly extended on the left side (left lateral decubitus
position). Most subjects did not experience significant oxy-
gen desaturation during restraint, although desaturation
did occur in some subjects. The authors emphasized that
four-point restraint in the hyper extended position is asso-
ciated with potentially dangerous physiologic changes. The
use of restraining devices that do not hyperextend the limbs
was recommended.

Chan et al. [7] determined whether the “hobble” or
“hogtie’ restraint position results in clinically relevant
respiratory dysfunction and concluded that, in a popula-
tion of healthy subjects, the restraint position resulted in
a restrictive pulmonary function pattern but did not result
in clinically relevant changes in oxygenation or ventilation,
although a small restrictive pulmonary function pattern by
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pulmonary function test parameters was found in subjects
who were placed in the restraint position.

Parkes [8] measured the effects of restraint positions on
recovery rate from exercise in healthy individuals and con-
cluded that physiological effects produced by positional
restraints should be recognized in these deaths.

In a more recent study Chan et al. [9] reported that the
prone maximum restraint position with and without 25 and
50 pounds of weight force resulted in a restrictive pulmon-
ary function pattern, but no evidence of hypoxia or
hypoventilation was noted.

In experimental studies, it is difficult to simulate the real
police arrest situation and experimental studies done on
healthy individual surely cannot reproduce the real situa-
tion. There is no disputing the fact that there have been a
number of deaths reported of unusually agitated individu-
als enduring restraint by hogtying procedure in police cus-
tody. There are certain characteristics that distinguished
these individuals, who died while hogtied in police custody.
It goes without saying that hogtying is used by the police in
controlling unmanageable irrational and violent individu-
als who may cause harm to themselves as well as to others.

Stratton et al. [6] delineated the factors associated with
the sudden deaths of agitated individuals who are placed
under restraint for excited delirium. These are the individ-
uals who are often subjected to hogtying when a family
member calls the police to help control the person.

1. “Associated with all sudden death cases was struggle by
the victim with forced restraint and cessation of strug-
gling with labored or agonal breathing immediately
before cardiopulmonary arrest.

2. The findings were also associated with stimulant drug
use (78%), chronic disease (58%), and obesity (56%).

3. The primary cardiac arrest rhythm of ventricular tachy-
cardia was found in 1 of 13 victims with confirmed initial
cardiac rhythms, with none found in ventricular
fibrillation.

4. Authors indicate that unexpected sudden death when
excited delirium victims are restrained in the out-of-hos-
pital setting is not infrequent and can be associated with
multiple predictable but usually uncontrollable factors.”

Deaths of hogtied individuals are not attributable simply
to hogtying. Multiple factors are involved. These individuals
are already compromised by drug use and/or mental aberra-
tions triggering other physical disabilities. Their uncontrol-
lable actions force family members to call the police for
help and the responding police use their training and proce-
dures to subdue and control these individuals.

5.2. Innovative investigation technique

O'Halloran [4] presented an innovative approach by re-
enactment of the restraint procedure using the actual
restrainer. Within a day of the autopsy the restrainer par-
ticipates in reenactments of the restraint process, utilizing

live volunteers as subjects. The re-enactment is videotaped.
Deaths associated with restraint often have non-specific
autopsy findings. Timely reenactment of the circumstances
of deaths associated with restraint can help death investiga-
tors to more accurately determine the probable cause of
deaths in such difficult cases. Such cooperative studies on
the step by step effect of the restraint process which led
to the death can be educational and help to elucidate what
should be avoided to prevent such deaths, similar to the
quality improvement program for patient care in the hospi-
tals. In Los Angeles County, videotaping is used during
actual arrest procedures. In case of death, the video is made
available for evaluation of the mechanism of death. The
CME-C and chiefs of police are in regular contact, sharing
pertinent information to effectively prevent repeated deaths
by similar means.

5.3. Quality improvement approach to prevention of death

Because of the litigious atmosphere here, the police
agency is often reluctant to provide the medical examiner
with pertinent information related to the sequence of
events leading to the death of a person under its custody.
We propose that a new team approach be set up to preven-
tion of similar deaths. Earlier, for decades a similar blam-
ing atmosphere confronted the healthcare providers and
facilities and doctors and hospitals faced repeated malprac-
tice litigation that prevented more earnest exchange of
information and setting up a program for improvement.
Beginning in the mid-1970’s in California, concerned phy-
sicians formed a multi-disciplinary team to evaluate the
causes of preventable deaths, and made a concerted mul-
ti-pronged effort in improvement in the quality of patient
care by implementation of quality assurance and setting
up improvement forums for earnest exchange of fact find-
ing and open discussion of problems without fear of infor-
mation being used to harm doctors’ and/or hospitals’
reputation. This concept was found to provide the most
effective way to prevent repeated similar complications
and deaths. Any documentation under this provision will
not be the subject of discovery for legal action.

5.4. Manner of death

So far, we do not have any national consensus on the
manner of death in these specific types of police-involved
deaths. Reay [10] recommended accidental classification.
Hirsch in New York City [11] recommended homicidal
classification when the restraint position constitutes use
of a “potentially lethal force.” However, most of the
reported cases have involved young men in a state of “ex-
cited” or agitated delirium as a result of intoxication from
recreational drugs or psychiatric illness. In addition, these
individuals had often suffered traumatic injuries before
placement in the restraint position. In Los Angeles we
would use the undetermined classification for those
restraint deaths with multiple contributing factors. In
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California, O’Halloran [12] recommended certifying these
cases as accident or, if a disease was the main factor, then

certifying as natural. Many medical examiners determine .

the manner of such deaths to be accident, meaning that
the event happened by chance, or unexpectedly; taking
place not according to usual course of events. An accident
results from an act that is lawful and lawfully done under a
reasonable belief that no harm is possible.

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DEATH IN CUSTODY

Donald T. Reay, MD

The sudden and unexpected death of a person while under arrest
or in police custody is a source of community concern. Unsubstantiated
facts and rumors surrounding a death in custody have always possessed
the potential for controversy, and major disturbances have erupted
because of alleged police misconduct. Bereaved family, friends, and
communities in general are all deeply concerned whenever such a death
takes place.

Searching questions are frequently asked about such a death, includ-
ing the following: Was unnecessary force used by the police in arresting
the person? Was the person physically abused during transport or dur-
ing interrogation after having been placed in custody? Such questions
relate to possible acts of unlawful violence on the part of law enforce-
ment personnel and raise the question of police misconduct. Equally
disturbing questions can be posed concerning neglectful behavior on the
part of law enforcement personnel, including the following: Was serious
and obvious illness in the person ignored or overlooked by the police?
Were legitimate complaints minimized or disregarded? Was needed
medical attention given? Did someone fail to recognize the potential
suicide or fail to heed a suicidal threat? What steps were taken to
prevent the occurrence of such an incident? Did the authorities make
their rounds sufficiently frequently? Was every reasonable means taken
to protect the safety and welfare of the suspect or prisoner from any
form of self-directed violence?

We must recognize that misconduct by law enforcement does occur,
and that it is the province of the medical examiner or coroner to thor-
oughly investigate the entire course of events from the moment the

 

 

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police first have contact with a suspect until the time when death occurs.
It is mandatory that any death that occurs while a person is in the control
of law enforcement officials be promptly, thoroughly, and objectively
investigated by the local medicolegal official, whether a medical exam-
iner or coroner. As in all sudden, unexpected, unusual, or suspicious
deaths, a competent medicolegal investigation of any death occurring in
custody or in confinement is necessary to establish the cause and manner
of the unforeseen death and to determine irrefutable facts that character-
ize and illuminate the events surrounding the death. Three major pur-
poses are served by such an investigation: (1) rumors and speculation
are put to rest; (2) wrongdoing by law enforcement is recognized for
what it is; and (3) information may be developed that identifies situa-
tions and procedures that require correction or improvement.

THE INVESTIGATION
Scene and Circumstance

As in any death investigation, the circumstances of the death should
be clearly established. Particular attention must be given to any alterca-
tion or interaction with law enforcement personnel or anyone else. The
medical examiner or coroner should, if at all possible, be notified of the
death when it occurs and make every attempt to examine the body at
the scene.” This provides a unique opportunity to make a preliminary
assessment about what might have happened, and it establishes commu-
nication with the agency in charge of the investigation. This becomes
invaluable in synthesizing events surrounding the death and is particu-
larly useful when trying to establish cause of death. If a scene response
is not possible, the medical examiner or coroner must have access to
investigative information, including photographs, to establish the posi-
tion of the body when found, the time the body was found, and when
the victim was last seen alive. This is particularly true if the body is
found in a jail cell. Equally importantly, when death occurs during the
process of arrest, it is critical that a minute-by-minute reconstruction of
events be developed. This means that detailed statements of the partici-
pants must be obtained, and that a detailed sequential reconstruction of
events must occur. This process should be done as quickly as possible,
because delay will only distort events, and time has a way of molding
perceptions of what may have transpired.

Autopsy

Few investigations in forensic pathology come under as much scru-
tiny as a death in custody. It behooves the pathologist charged with
performing the autopsy to institute those procedures ordinarily reserved
for deaths of homicidal violence, Even though the death may appear to
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be uncomplicated, such as a suicidal hanging, too often there are com-
munity suspicions that something sinister has happened and that some-
one in the ranks of law enforcement is responsible for the death. Conse-
quently, the pathologist responsible for the autopsy must implement
such procedures ordinarily reserved for homicidal deaths, to include the
collection of trace evidence such as fingernail clippings, hair, and fibers;
swabs for sexual activity; preservation of clothing; and complete and
detailed photographs of any anatomic findings demonstrated at autopsy.
There are never too many photographs. Consideration should likewise
be given to the use of a video camera to record the entire procedure. On
occasion it may be necessary to preserve critical specimens such as the
larynx for future reference. Furthermore, it may be necessary to request
consultation with physicians in other disciplines such as neuropathol-
ogy. The most important feature of this aspect of the investigation,
namely the autopsy, is to establish as precisely as possible any anatomic
injury or natural disease that may have been responsible for or, at least
contributed to, the death. There may be instances in which the anatomic
findings are so definitive—for example, rupture of an acute myocardial
infarct—that the investigation rapidly comes to a close, but this is most
unusual. Ordinarily, with the autopsy the investigation is just beginning,
and many hours will be spent reviewing reports of investigation before
the certifier of death, whether medical examiner or coroner, has sufficient
information to render a final opinion.

Concomitant with the autopsy findings, a complete toxicologic ex-
amination is required. Alcohol and street drugs, such as cocaine and
methamphetamine, are common companions in victims who die in cus-
tody. Equally important are therapeutic drugs such as lithium and
phenytoin, which may be present in subtherapeutic amounts and which
may provide insight into the behavior of the victim, particularly if there
is a history of manic-depressive psychosis or seizures. Unrecognized
diabetic ketoacidosis can be responsible for sudden death. Vitreous and
urine glucose/ketones may provide the first indication that such is
the case.

INSTITUTIONAL AND RESTRAINT DEATHS

There are clear differences between investigating a death in which
(1) the victim has been found dead, usually in an institution or jail, and
in which (2) the victim dies during or immediately after a struggle
during which physical restraint has been used by the police. In an
institutional death in which the prisoner or inmate is found dead, there
is a different emphasis and direction in the investigation, in contrast to
the death of a suspect who is wrestled to the ground and then is
discovered to be lifeless. Each has its unique problems worthy of sepa-
rate discussion.
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Institutional Deaths

Few case studies of jail deaths have been done in a fashion that
permits a comparison of data from different parts of the country. The
earliest study performed in the Cleveland metropolitan area, by Adelson
et al’ in 1968, examined over 12 years the cause and manner of death of
91 prisoners who were found dead in jail. Of those 91 prisoners, 64%
died as a result of natural disease and 25% as the result of suicidal acts.
The remaining 11% died of injury that was either accidentally sustained
or in which circumstances were not determined. In a more comprehen-
sive study, Copeland’ in 1984 examined the deaths occurring in metro-
politan Miami of inmates in detention over 27 years. In his series, 55.5%
were the result of natural disease and 20.9% the result of suicidal acts.
In 1988 Frost and Hanzlick’? examined 53 deaths over 12 years and
found that 57% were attributed to natural causes and 26% to suicidal
acts. The balance of the deaths in these studies was the result of homi-
cidal or unintentional lethal violence. In all studies, arteriosclerotic vas-
cular disease and seizures were responsible for most of the natural
deaths. Hanging by ligature accounted for almost all of the suicides,
most of which occurred early during the period of the prisoner’s incar-
ceration. Additionally, natural deaths occurred in an older-age group,
whereas suicides occurred at a younger age. A most interesting finding
in the Cleveland study, which was performed at a time when alcoholism
was viewed as a criminal offense, was that two thirds of all sudden and
unexpected deaths were the direct result of the sequelae of alcoholism
either in its acute or chronic form. No recent studies have examined the
character of sudden death in custody and confinement, particularly in
view of the fact that alcoholism is no longer viewed as a crime, but as a
medical condition that is treated, accordingly, in a proper medical or
substance abuse and alcohol facility.

The Investigation

When a prisoner or inmate is found dead in confinement, the usual
response by security personnel is to sound the alarm for immediate
medical aid. It may be the policy of the institution that all security
personnel are adequately trained in cardiopulmonary resuscitation and
to immediately render aid. Although such aid may be given, recognition
has to be given to the panic of the event, and to the injuries discovered
at autopsy that may have been inflicted by resuscitation. Sometimes
there may be reluctance of security personnel to render aid, and they
may elect to wait for an emergency response by medically trained
personnel. In both instances, the record should reflect what course of
action was taken and who did what and when. As is the usual course
of events with any emergency response, the victim is likely to be trans-
ported from the scene of death to a medical facility to receive definitive
and appropriate care.

Emergency life-saving resuscitative procedures can produce injuries
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that must be recognized at the time of autopsy examination. Similarly,
how the body was handled and whether any injuries can or did result
from such handling should be established. Of particular note is the
hanging suicide and the manner in which a body is removed from a
ligature. Skull fractures and scalp lacerations can be produced when the
body is cut down and allowed to drop to the floor. Hence it is important
that the circumstances and method surrounding body removal be
known. Additionally, intubation, particularly by paramedical personnel,
can produce injuries to the mucosal lining of the larynx that can be
misinterpreted at autopsy as evidence of neck compression (Fig. 1). It
behooves the medical examiner or coroner to obtain as much information
as possible about the discovery of the body, attempts at resuscitation,
any therapeutic procedures that were undertaken, and the handling of
the body, whether in the hospital, emergency room, cell, or institutional
dormitory.

As previously stated, opportunity to visit the scene where the inci-
dent occurred is of great value to the medical examiner or coroner. In
addition to the actual site of death, the institution where the death
occurred will generally have a log of the inmate’s activity, as well as a
record of activity of those responsible for supervising the inmates of the

Figure 1. Mucosal hemorrhages
produced by on-scene intubation
by paramedics. The victim died of
gunshot wounds.

 
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institution. These records may be of some importance to those responsi-
ble for reviewing procedures or assessing liability, but generally they
have limited value to the person responsible for certifying death.

The record of investigation must clearly reflect, in as much detail
as possible, what happened. In some jurisdictions, the medical examiner
or coroner may have an investigative unit separate from law enforce-
ment to conduct a separate investigation. This is unusual, and most
medical examiner or coroner agencies rely on law enforcement personnel
to conduct the investigation, which obviously has the potential for
concealing what might have transpired, but this may be all that is
available. If investigative reports are not accessible, then the medical
examiner or coroner is left with only the results of the autopsy and
toxicologic examination on which to base an opinion of cause and
manner of death. Occasionally, this may be all that is necessary—
particularly if an overwhelming natural disease is present—but this
rarely is the case.

Although it may appear that the investigation of natural death is
straightforward, the person responsible for establishing cause of death
should be circumspect during the death investigation. The cause of
death may be convincingly established during the autopsy examination,
but related issues may be difficult to assess and, furthermore, have
significant civil liability. Even in situations in which the prisoner or
inmate has been carefully monitored, there is always the concern that
someone failed to heed the complaints of the inmate or failed to recog-
nize someone who was seriously ill. It may be difficult to answer such
questions based on the autopsy findings. Nevertheless, the examiner
should be prepared to handle such questions. Regardless, you can be
assured that there are many experts willing to step forward and offer
opinions on the most meager of findings.

Although inmates who die from clearly identified natural disease
may cause some concern, inmates who die by their own hand create
major concern. Jail suicides have been studied in detail, and a well-
defined profile has emerged of the person who takes his or her life
while in detention.’* ® * Hanging is the method of choice. This is
understandable because the common and ordinary means that exist in
the community, namely firearms and medication, are not readily avail-
able to the person in detention. Strips of fabric from clothing or bedding,
belts, or shoelaces may furnish the means with which the desperate
person can end his or her life.

Jail suicides, like natural deaths, always raise significant questions.
Because these are violent deaths, a probing for a more sinister reason
for the death occurs. The medical examiner or coroner must be wary
and circumspect as the death investigation commences. An on-scene
presence serves many purposes, most particularly the opportunity to
examine the body at the scene (Fig. 2). At the scene the examiner has
the opportunity to become informed of the vigilance of the caretakers
or guards, the overall condition of the facility, and the spatial relation-
ships at the site where death occurred. Because the majority of deaths
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Figure 2. A typical jail death scene
with victim using strips of cloth torn
from a towel to hang herself.

 

are the result of hanging, the opportunity to reconstruct the method and
means of self-destruction is also available.

One of the more frequent allegations in suicidal hanging deaths in
custody and confinement is that guard(s) or caretaker(s) inflicted fatal
injuries to the inmate, and that the ligature was fashioned to conceal
lethally inflicted injuries, most notably manual strangulation. Although
this may seem to be an untenable allegation, it is an allegation that
can be difficult to contradict and must be taken seriously by anybody
responsible for the investigation. Consequently, the autopsy should be
approached much as a homicide investigation, because failure to collect
specimens and to take detailed photographs of any injuries and to give
appropriate attention to the ligature can only raise questions concerning
the adequacy of the postmortem investigation.

The performance of the autopsy should present no particular prob-
lems for the experienced pathologist, but as in any asphyxial death,
attention must be given to the performance of a careful neck dissection
to assess the character of the injury present and, more importantly, to
exclude other injuries commonly associated with manual strangulation
or choking. Because the autopsy findings in hanging victims show some
variation in their presentation at autopsy, it is worthwhile to review the
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spectrum of these findings. Luke et al* studied hanging victims in a
number of circumstances and described laryngeal fractures in about a
third of the cases examined. More recent studies have shown a higher
incidence than originally reported.5 The important point of both of these
studies is that laryngeal fractures do occur and are not a point of
differentiating manual strangulation or choking from a suicidal hanging.
Additionally, petechiae of the bulbar and palpebral conjunctivae are
variable and may be absent if the body is completely suspended. Pete-
chiae offer little help in discriminating between a more nefarious act of
murder and a self-induced hanging.

It is necessary to emphasize the importance of a complete evaluation
for prior sexual activity during the examination of the body. This is
particularly true for female victims, because there is the unspoken as-
sumption that a female prisoner is vulnerable to sexual assault by male
guards while in custody. Swabs should be taken of all body orifices and
preserved for DNA analysis, along with the usual microscopic and
chemical evaluation for the presence of semen. There is always an
element of suspicion of sexual activity because the death occurred in
confinement. In the male victim who is found hanging, some urethral
seminal discharge can occur after death and is not a reflection of sexual
activity before death.

Release of Information

One of the more difficult determinations for any medical examiner
or coroner is the release of information concerning a death in confine-
ment. My experience is to release as much information as possible,
because to withhold information only creates an atmosphere of suspi-
cion. If the cause of death is clearly established, it serves no purpose to
conceal that information from the public. It may be prudent, however,
to avoid releasing details concerning the death. This information may
be a mix of hearsay and fact, and it may place other agencies in a
difficult position to explain events, particularly during the early phase
of the investigation. It may be necessary to answer queries by stating
that other studies are being conducted and to specify these studies and
why they are being performed. Once an atmosphere of withholding
information about the death is created, it becomes difficult to generate
a sense of truthfulness and to remove the suspicion of “cover-up.”

Death on the Street

Of all the deaths that a medical examiner or coroner is charged with
investigating, the most difficult and complex are deaths that occur on
the street while a suspect is being detained or placed under arrest. The
level of violence surrounding the event can be extraordinary and may
be witnessed by a variety of individuals, including friends and relatives
of the deceased. There have been occasions on which the entire confron-
tation has been recorded by a hidden camera of an amateur photogra-
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pher. There is no question that such events frequently attract local and
sometimes national attention and can cause police agencies to come
under intense scrutiny. When such a death occurs, there is frequently a
sense of community outrage about the conduct of the police, and occa-
sionally criminal charges have been filed against law enforcement per-
sonnel involved. Such is the atmosphere that the medical examiner or
coroner may face and in which a death investigation may be conducted.
The police seek exoneration of their acts, while family and friends of the
victim seek retribution for the death.

The Investigation. As previously stated, if there is a scene of death,
the death investigator, whether medical examiner or coroner, should
respond to the scene. Generally there will be no pliysical evidence at the
scene to aid in the investigation, but the real value is the opportunity to
develop a sense of what happened. It provides an opportunity to see
the physical surroundings and terrain, establish the jurisdiction of the
investigation, learn what method of physical restraint was used, and
assess the overall level of violence that occurred. This awareness of the
dynamics of the event can prove invaluable during the examination of
the body. It directs attention to critical areas of the body that require a
detailed examination, to either identify the nature and extent of injury
or, equally importantly, to demonstrate the absence of injury.

Restraint Deaths

The types of physical restraint involved in police encounters that are
generally identified as causing death include neck holds and mechanical
restriction of respiration. Because each of these maneuvers may be
responsible for death, each will be examined separately.

Neck Holds

Neck holds are a common method of restraint used by most police
agencies throughout the United States. For many years the use of all
neck holds was generally viewed as an acceptable, nondeadly maneuver
that could be used in any confrontation. Generally, the choke hold, a
type of neck hold, is viewed as inherently dangerous, because it is
designed to obstruct the airway and to virtually strangle a person
into submission or unconsciousness. The neck hold called the “carotid
sleeper” or “lateral vascular neck restraint’ is designed to obstruct the
carotid arteries in the neck and cause momentary unconsciousness.®
Personnel who teach defensive tactics use the carotid neck hold as the
primary hold to be used if the situation warrants its use. Those who are
versed in martial arts can attest to the effectiveness of carotid compres-
sion. Physiologic studies performed in our laboratory have shown that
carotid blood flow is significantly reduced in about 7 to 10 seconds
when the hold is correctly applied.” This means that an officer can
quickly gain control of his opponent during the period of temporary
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unconsciousness. The difficulty of quickly and appropriately positioning
the arm and forearm to occlude the carotid arteries in a violently strug-
eling person may not always be casy.8 What may be intended as a
carotid submission hold can easily become a combination carotid sub-
mission and choke hold with devastating fatal consequences.

Autopsy Evidence of Neck Compression

Whenever there has been a fatal confrontation with the police,
the pathologist is obliged to carefully examine the neck for signs of
compression. Before the neck organs, soft tissue, and muscles of the
neck are examined, it is particularly important that evidence of venous
constriction of the vessels draining the head be evaluated. Because the
jugular venous return of the head is a low pressure system, generally
not exceeding 5 mm Hg, little pressure is required to occlude the veins
and cause a back pressure to develop and extend to smaller vessels,
namely venules, throughout the structures of the head including the
eyes.” If this back pressure is sustained, small vessels distal to the
compromising stricture rupture and produce typical petechiae in the
conjunctivae, buccal mucosa, and sometimes even the skin. The impor-
tance of petechiae is that they reflect increased pressure in the cervical
venous system caused by constriction of veins, produced by compression
of the neck. Petechiae can be produced by vigorous chest compression
of resuscitation. This results from a retrograde venous pulse pressure
from the chest into the venous system of the head. Nevertheless, the
finding of petechiae is important, and it may be the first physically
evident sign on the body to indicate neck compression.

The examination of the neck must include a meticulous surface
examination to detect any contusion or abrasion. These findings may be
subtle, meager, or sometimes nonexistent, but it is exceedingly important
that the examination is detailed and even aided by a hand lens or a
dissecting microscope. The absence of injury must be clearly noted.

As with the external surface examination, the underlying soft tissue,
muscle, and neck organs must be examined in a methodic fashion, which
has been appropriately described as a layered dissection of the neck.”
This examination must focus on the presence of hemorrhages in the soft
tissue and muscles of the neck and, in particular, their character and
distribution. It is unlikely that resuscitation ever accounts for hemor-
rhages in these areas. There may be the occasional instance in which
hemorrhages in the submandibular gland result from the rearward
thrust of the head during intubation or mouth-to-mouth breathing, but
this area is located some distance from the major laryngeal structures
that are directly affected by neck hold compression.

The most important examination of all neck structures is the laryn-
geal examination. Because the larynx constitutes the most rigid structure
of the upper airway, pressure applied to the neck commonly results in
fractures of the larynx or its appendages. Although the larynx is com-
posed of three anatomic supporting cartilages—namely, the hyoid, thy-
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roid, and cricoid cartilages—ossification begins early in life, but fusion
of the cornu to the central body of the hyoid occurs much later and
gives it rigidity and susceptibilily lo fracture when stressed. Tt is
imperative that these anatomic structures be meticulously examined to
establish whether sufficient force has been applied to the neck to pro-
duce fractures. In some instances, the larynx may retain its cartilaginous
character and remain pliable and less likely to fracture, but even in these
instances there can be fracture of the cartilage with hemorrhage. A
fracture to the larynx is good anatomic evidence that force has been
applied to the neck.

In addition to injuries to the skeleton of the larynx, neck compres-
sion can produce scattered petechiae and flame-shaped hemorrhages of
the laryngeal mucosa that can be randomly distributed over the surface.
Even if the hyoid, thyroid, and cricoid structures are intact, such hemor-
rhages can occur and be the only evidence of neck compression.

Interpretation of Autopsy Findings

Once injuries have been identified to the neck, it then becomes the
responsibility of the examining pathologist to offer a reasonable and
reasoned interpretation of the findings. If there are fractures to the lar-
ynx—that is, the thyroid, hyoid, or cricoid, alone or in combination—
the reasonable conclusion is that pressure was applied to the neck,
usually in a constricting fashion. The author has yet to see such fractures
induced by clumsy or difficult intubation during resuscitation. Isolated
fractures can result from a blunt impact delivered to the neck with a
nightstick, a kick with a shod foot, or even a karate chop. In such
instances, however, the overlying skin will ordinarily show an abrasion
or contusion as evidence of impact. It would be very unusual to produce
bilateral fractures by such a mechanism.

In addition to fractures, hemorrhages of the soft tissue and muscle
are the expected findings if neck constriction has occurred. In the ab-
sence of fractures, but with the presence of soft-tissue, laryngeal muco-
sal, and cervical strap muscle hemorrhages, and petechiae in the
conjunctivae, neck constriction must be strongly considered, particularly
if corroborated by events reconstructed through independent witness
statements. As previously noted, confounding issues surface when there
has been vigorous resuscitation. Intubation can produce hemorrhages
(including petechiae) of the laryngeal mucosa, and vigorous chest com-
pression can produce conjunctival petechiae. When this happens, caution
must be used in offering a definitive pathologic diagnosis. The only
hope in resolving such issues is to carefully examine the witnesses’
statements of events, and to assess whether the narrative of events
corroborates the anatomic findings. If there is a major contradiction, an
assessment must be made of the reliability of the witnesses and whether
the injuries present at autopsy could have been therapeutically induced.
It is important that the autopsy findings be studied in the light of the
record of events that is available.
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Neck Holds and Death

Although constriction of the structures of the neck, in particular the
carotid arteries, can cause unconsciousness very quickly, it does not
mean that death immediately follows. There are instances in which
death has occurred very quickly following the application of a neck
hold, but to explain such a death requires the existence of a reflex
neurologic mechanism such as the carotid sinus pathway. This mecha-
nism is discussed in greater detail later. The most common pathway
responsible for a neck hold death, however, is one of asphyxia, which is
mediated by the lack of cerebral oxygenation because of restriction of
the cerebral arterial blood flow or collapse of the airway.

How long does it take before there is hypoxic brain injury leading
to death? The answer must be assessed in light of what we know about
the survival times of victims who have sustained a cardiac arrest and
have been resuscitated. There is sufficient clinical experience to assess
how long cerebral circulation may cease to function, because of cardiac
arrest or ventricular fibrillation, with survival and minimal residual
neurologic effects. This clinical experience indicates that the limit for
occasional recovery of function appears to be between 10 and 20 min-
utes. This is the reason for rapid institution of cardiopulmonary resusci-
tation, which is designed to reduce the amount of time the brain is
without oxygenated blood. This critical time is important in evaluating
deaths in which neck holds have been used. Furthermore, experimental
animal data indicate that, with obstructive asphyxia, a similar 3-to-5-
minute interval is required for cardiac standstill to occur. Death is not
instantaneous.” Recognition must be given to the physical exertion
associated with a violent struggle and the resulting fatigue and increased
oxygen demands of the body, which may influence and shorten this
interval. In evaluating deaths in which the neck hold is thought to have
played a role, it is important that these references of time be kept
in mind, particularly during the reconstruction of events surrounding
the death.

Carotid Sinus Stimulation and Sudden Death

Sudden death may result from carotid sinus stimulation. This reflex
neural pathway through the vagus nerve can cause bradycardia and
cardiac standstill, and it may account for some deaths that occur rapidly
following application of a neck hold. The sensitive carotid sinus syn-
drome is a well-recognized but uncommon clinical condition.* Report-
edly, some individuals chosen at random can be induced by neck mas-
sage into a bradycardia.‘ This study suggests that a carotid sinus
massage can create a reflex rhythm disturbance in a variety of persons
who are not identified as “sensitive” to neck compression. This has
significance in understanding deaths that have occurred during the
application of a neck hold with immediate collapse and in which no
significant pathologic findings are present at autopsy. Conceivably, even
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though there may be airway and carotid artery constriction during the
application of a neck hold, it does not preclude initiating the carotid
sinus reflex and its attendant cardiac rhythm disturbance.

Restraint Asphyxia

In addition to neck holds, the other major consideration in evaluat-
ing deaths that occur during a physical confrontation with the police is
the take-down of the victim, usually accomplished prior to the process
of handcuffing, and the ultimate position of the victim after that restraint
is accomplished. Because the event is so violent and dynamic, different
aspects of the restraining process can be identified in evaluating deaths
of this type.

Respiration depends on an intact airway, pulmonary parenchyma
capable of adequate gas exchange, and the mechanical bellows action of
the muscular and bony structures of the thorax. The coordinated activity
of respiration is mediated by an intact nervous system. Obstruction of
the airway by neck holds has been discussed previously, and diseased
pulmonary tissue is a subject with which most pathologists are familiar.
Restraint asphyxia describes interference with the bellows action of the
chest that prevents an effective gas exchange from occurring and creates
a condition of hypoxia that, if prolonged, can result in death.

Restraint asphyxia is a general term that encompasses all three com-
ponents of the take-down and restraining process. These components
include compression, restriction, and position. Each of these is likely to
play a role during the restraining process, but it is difficult to assign a
percentage value to each component.

Compression and restriction of the chest occur when the suspect is
forced to the ground during an attempt to control the suspect. Usually
this situation involves several law enforcement individuals who grapple
with a suspect. Finally, resistance is overcome and the suspect is forced
to the ground, where the police have the physical advantage and the
opportunity to handcuff. During this process, compression and restric-
tion of the thorax will occur if knees and feet are used to hold the
suspect down (Fig. 3). Depending on the intensity of the struggle, it may
take several minutes before the suspect is controlled by handcuffs,
whether or not the feet are bound to the handcuffs in a hog-tied fashion.
This process can be inherently dangerous, because compression and
restriction of chest excursions create a pathologic condition akin to what
is known as “traumatic asphyxia.” In its most exaggerated form, this
condition occurs when a victim is “pinned’’ by the collapse of a jack
stand beneath an automobile, or in other situations in which a person’s
chest is compressed and immobilized, usually by a collapsing object.

There is a third component, namely the position of the victim, that
must be evaluated whenever a person is placed face down and hand-
cuffed, with leg restraints, whether or not hog-tied. Studies performed
in our laboratory using oxygen saturation as an index to measure the
effects of the face-down hog-tied position following exercise in volunteer
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Proceure

applied to

 

Supine Position Prone Position Pressure to Back
No restriction of Thoracic excursion plus
thoracie excursion restricted by Restriction of thoracic
approximately 10% excursion by prone position

Figure 3. Restriction and compression of thoracic movement with weight placed on back
in prone position. Abundant abdominal panniculus further impedes thoracic expansion by
moving abdominal contents against diaphragm.

subjects showed a delayed recovery in oxygen saturation with the prone
hog-tied position®" We concluded that such a prone hog-tied position

romoted a delay in respiratory recovery. This was viewed as potentially
harmful because it interfered with respiratory recovery. More recent
studies using arterial blood gas determinations refute our earlier work
regarding the hog-tied prone body position. These studies show that
although body position does not influence the respiratory recovery,
there is an average reduction of respiratory excursion by 10% to 12%.
Hence in normal individuals, the hog-tied prone position should be
viewed as not producing significant physiologic respiratory compromise,
and it does not produce any serious or life-threatening respiratory ef-
fects. In some individuals, however, particularly those with an abundant
abdominal panniculus, the upward movement of abdominal viscera
against the diaphragm interferes with respiration and creates a situation
of continued respiratory embarrassment. Similarly, if the chest is de-
formed by scoliosis or there is significant intrinsic pulmonary disease,
the resting position of the victim must be viewed as interfering with
respiration.

All three elements—compression, constriction, and position—need
to be recognized in evaluating a death when a suspect is restrained face-
down in the context of a violent struggle. When death appears to be the
result of the take-down and struggle, with a number of people exerting
pressure at various sites on the body, restraint asphyxia must be seri-
ously considered in evaluating the death. The final resting position of
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the victim must likewise be considered, as should body habitus and any
unusual physical deformity, such as kyphoscoliosis.

Diagnosis. In contrast to the anatomic findings encountered when
neck holds have been used, findings to support the diagnosis of restraint
asphyxia can be meager to nonexistent. This can result when the force
applied is not concentrated in one area to allow for well-developed
bruising patterns to become manifest. Petechiae of the face and eyes can
be expected if the compression of the chest is prolonged and severe;
however, this finding may also result from neck compression. Vigorous
cardiopulmonary resuscitation can generate enough retrograde venous
pressure to produce petechiae. Fluidity of blood as evidence of asphyxia
is an unreliable finding and should be relegated to the realm of useless
information.

There are no typical pathologic findings that allow for a diagnosis
of restraint asphyxia. The only source that provides the necessary infor-
mation for this diagnosis is the historical record of events surrounding
the physical struggle, take-down, restraint, and death. Because restraint
asphyxia is a pathophysiologic process with few anatomic markers,
the medical examiner or coroner must rely on events as described to
understand and explain the death. The difficulty occurs when assessing
the credibility of those persons who were witnesses to or participants in
the restraining maneuver. The critical issues to be established are who
did what and for how long. Equally important is a clear description of
the behavior of the victim during the confrontation. Did the victim
vocalize breathing difficulties or manifest signs and symptoms of dis-
tress with cyanosis or chest pain, or did the struggle end abruptly with
the officers involved interpreting this as a sign that the victim “gave
up”? After the struggle ceased and the victim was restrained, did the
officers check the condition of the victim, or did they move away to
recover their own composure and only later check the victim? These
questions must be answered to create a timeline of events surrounding
the death. Only after this information is established can the certifier of
death make a judgment and render a statement of cause of death.

Catecholamine Rush

There is little doubt that where there is violent activity, abundant
release of adrenal catecholamines occurs. The fight-or-flight response
initiated by a violent physical confrontation and mediated by the adrenal
medulla induces a pronounced output of noradrenalin/ adrenalin, which
are known to sensitize the heart and promote rhythm disturbances.’
Additionally, psychological stress has been shown to promote cardiac
rhythm disturbances.” These pathways play a major role in causing
death in persons who find themselves in a perilous circumstance and
suddenly “drop dead,” with no clearly defined anatomic lesion to ac-
count for death. When there has been intense physical combat and the
victim has been violently thrown to the ground, restrained with chest
compression and restriction, and in some instances hog-tied to secure the
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hands and feet, it is difficult to attribute death solely to a catecholamine
response or a psychological stress-induced cardiac dysrhythmia. If death
occurs when there has been respiratory compromise leading to hypoxia,
the restraint maneuver must be identified as playing a major role in
causing death. A similar circumstance occurs in exercise-induced sudden
death when the autopsy fails to demonstrate a cardiac lesion. Such
deaths have many features in common with restraint deaths because
there are no identifiable pathologic lesions; however, attributing sudden
death as solely exercise-induced during the physical confrontation and
restraining process does not account for the dynamics of restraint and
interference with the respiratory mechanics of the thorax. Restraint as-
phyxia is a pathophysiologic process that can only be described by the
dynamics of the event and that is not demonstrated in tissue injury at
autopsy.

Lethal Catatonia and Excited Delirium

Lethal catatonia is a term first used in 1934 by Stauder to describe
death that occurred in mental patients, usually psychotic, who exhibited
psychomotor excitement for several days to weeks with alteration in
autonomic functions including fever, profuse perspiration, tachycardia,
refusal to eat or drink, progression to rapid weight loss, dehydration,
and death.** Autopsy examination failed to reveal any anatomic cause
of death. The term lethal catatonia was created to describe these deaths.
Other descriptive labels have been used and include “acute catatonic
excitement,” “psychotic exhaustion syndrome,” and “malignant cata-
tonia.” More recently, “acute exhaustive mania,” which appears to be
similar to ‘lethal catatonia,” has been suggested to explain sudden death
occurring when an extremely agitated or psychotic person, in a drug-
induced state or otherwise, manifests violent behavior and dies." Simi-
larly, the neuroleptic malignant syndrome resulting from the withdrawal
of antipsychotic/neuroleptic agents has many features in common with
lethal catatonia. Some authors speculate that malignant catatonia and
neuroleptic malignant syndrome are caused by hypodopaminergic states
and are variants of the same process’? (EF Torrey, personal communica-
tion). In either instance, these two conditions have well-described clinical
features that cannot easily be modified to explain sudden death, particu-
larly when the victim is restrained with an element of respiratory com-
promise.

Cocaine-induced “excited delirium” is an acute drug reaction, first
described as occurring in cocaine body packers by Wetli and Mittleman
in 1981. These authors subsequently reported seven deaths in cocaine
users who demonstrated bizarre and violent behavior.*” Five of the
victims required forcible restraint before death. The method of restraint
is not clearly described and the restraint maneuvers not detailed. Never-
theless, a profile of the victim emerged, consisting of marked agitation,
paranoia, and aggression characterized as “excited delirium” with unex- >
pected strength and hyperthermia.* The amount of cocaine in the blood
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at autopsy was lower than what is commonly seen in fatal cocaine
overdoses. The consequence of these observations is that “excited
delirium” has become a defined pathologic entity induced by cocaine
and other stimulant drugs and which involves the dopamine system
with central dopamine receptor blockade or neurotransmitter defi-
ciency.” Because of these effects, akinesia of respiratory muscles has
been postulated and may be the neurophysiologic pathway leading to
death."* If indeed this pathway affecting respiratory muscles exists, then
any compromise of respiration, including position, may ultimately prove
fatal. The consequence of “excited delirium” is that the victim may be
particularly vulnerable to restraint-induced sudden death. This appears
to be the condition reflected in the report of O’Halloran and Lewman,**
which describes sudden death in 11 men restrained in a prone position
by police officers during a state of “excited delirium.”

Restraint, Natural Disease, and Drugs

To identify cause of death in situations in which there has been a
violent confrontation with the police and in which the autopsy demon-
strates significant natural disease and/or large amounts of drugs is one
of the more taxing issues that the medical examiner or coroner faces.
The restraint maneuver is unlikely to be solely responsible for the death
if there is significant natural disease or drugs present. If there is every
indication that restraint has played a major role in the death, it must be
identified as such. It is virtually impossible to assign a degree or percent-
age of responsibility that restraint may have played in producing death.
We may be able to distinguish various factors in a death and not be able
to separate them. Consider the obese man with advanced coronary
artery disease who is party to a violent confrontation in which he
struggles desperately to evade the police, is finally handcuffed and
shackled in a prone position, and then states that he cannot breathe.
The autopsy demonstrates cardiomegaly with moderate focal coronary
arteriosclerosis of sufficient severity to explain death under other circum-
stances. A dilemma exists that is not easily reconciled. Should the death
be wholly and completely attributed to the natural disease process, or
‘should the physical restraint be viewed as contributing to death? In this
instance, the legal principle that you “take your victim as you find him
or her’ requires identifying the restraint process as playing a role in the
death and therefore placing some responsibility on the police. The de-
gree of responsibility is probably best left in a legal forum.

Similarly, the same circumstance arises when the autopsy demon-
strates significant amounts of drugs in body fluids that under other
conditions would be sufficient to explain death. This is particularly true
for cocaine and amphetamine, where the amounts of drug present in
the blood could be recognized as sufficient to cause death. Stimulants
such as cocaine, however, appear to lower the threshold for death to
occur during restraint. Animal studies shed some light on the role of
cocaine in restraint; animals that receive high doses of cocaine and
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are restrained are more susceptible to sudden death as compared to
unrestrained control animals.” This experimental observation empha-
sizes the susceptibility of a person to sudden death during restraint ifa
stimulant such as cocaine is present. Whether that susceptibility is medi-
ated by catecholamine is not established; however, deaths have been
reported in persons with acute cocaine psychosis in association with
face-down restraint, which probably includes chest compression and
restriction.2° The question is how much of a contribution did the restraint
make to the death. Certainly the medical examiner or coroner can
avoid any potential controversy and completely exonerate the police by
summarily dismissing the restraint as insignificant and assigning full
responsibility to the presence of drugs. I do not know how such dilem-
mas can be resolved, but the role of restraint and circumstances of the
event should at least be recognized in an attempt to better understand
and describe death in such circumstances.

Certification of Death

Obviously, the certification of death flows from the determination
of the cause of death. The difficulties often encountered in establishing
cause of death have already been discussed.” If the natural disease
process is overwhelming and the restraint maneuver is judged negligible
after careful review of statements and the report of investigation, then
an appropriate certification of the manner of death is natural causes.
Similarly, if the autopsy findings demonstrate significant injury that can
be attributed to the restraint process, such as injuries to the larynx, and
reports of investigation show that significant force was used, including
a neck hold, the death should be classified as non-natural and violent in
character.

In assessing the death and establishing a manner of death, other
considerations need to be evaluated, namely the inherent character of
the injury or action that is viewed as responsible for the death. If the
action by a person(s) is of such a nature as to be inherently dangerous
and alone can cause death, and death results from that activity, then the
death is appropriately classified as homicide. Because neck holds by their
nature obstruct cerebral circulation or the airway or both, in addition to
the potential of triggering a reflex parasympathetic cardiac standstill,
they are inherently lethal. If death results following their use, then the
death should be classified as homicide. Thus, in addition to viewing the
death in the broadest sense of dying “at the hands of another,” it is
important to establish what the hands are doing to cause death. Simi-
larly, if significant chest compression has occurred during the restraining
process, particularly for an extended time, then such compression, some-
times referred to as “traumatic” asphyxia, is inherently lethal. If it is
established that such a sequence of events occurred during the re-
straining process, a homicide classification is warranted.

The two examples cited, namely neck holds and chest compression, ~
are more readily recognized as inherently capable of causing death. In
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most restraint deaths, however, it is not easy to clearly identify the
lethality of other activity that may play a dominant role in producing
death. In the process of restraint—which involves placing a suspect in
the face-down position—there are various components of this process
that, because of the dynamics of the event, can be distinguished but
not necessarily separated. If the chest compression and restriction are
transitory (it is frequently difficult to establish specific times), then there
should not be an inherent danger to life. Similarly, the prone position is
a neutral position, largely tolerated by most persons even after vigorous
exercise? The situation is significantly altered when the condition of the
victim creates a risk of sudden death. These conditions include intoxica-
tion by stimulant drugs such as cocaine and amphetamines, acute psy-
chotic behavior (drug-induced or otherwise), physical exhaustion, obe-
sity (particularly with a large abdominal panniculus), and the presence
of significant cardiovascular or respiratory disease. Hence it is not only
the transient restraint maneuver but also the condition of the suspect
that creates the potential for a fatal outcome.

When certifying death in which restraint is identified in whole or
in part as causing death, and the inherent character of the restraint used
is not viewed as lethal in its application, then an accidental classification
is appropriate. Some would disagree and use the broad definition of
homicide in such circumstance as death occurring at the hands of an-
other.5 Others would attribute death wholly to one of the many risk
factors present in the victim, such as acute drug psychosis or exhaustive
mania or others as discussed previously. Obviously, there are different
ways of evaluating and certifying such deaths, which highlights the
absence of any clear standard for assigning cause and manner of death
occurring during a violent confrontation with the police.

PEPPER SPRAY AND CUSTODY DEATH

Oleoresin capsicum (OC) is an extract of pepper plants of the genus
Capsicum. This extract is used as the active component of OC spray. OC
is a complex mixture of capsacinoids, 80% to 90% of it being capsaicin
and dihydrocapsaicin, the most potent of the homologues in this mix-
ture. OC is used as the principal active ingredient in pepper spray."
Exposure to OC occurs through skin and eye contact and inhalation.
When OC comes in coritact with the skin, erythema and pain are pro-
duced. There are no reported instances of a chemical burn produced by
OC, although OC enhances an allergic dermatitis. In the eyes, OC spray
produces stinging, lacrimation, and photophobia. It decreases superficial
sensitivity of the cornea and makes the eye vulnerable to abrasion. The
respiratory effects are most pronounced. The nasal mucosa responds to
OC with rhinorrhea, and low doses of capsaicin stimulate the cough
reflex. Additionally, bronchospasm has been shown to occur in about a
third of normal persons within seconds of exposure to OC.” Asthmatics
are more. sensitive to the bronchoconstrictive effects of capsaicin; an
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acute asthmatic attack can be induced by exposure. In 1995, Steffee et
al reported two deaths in custody where OC had been used. In one
death attributed to heart disease OC had been used, but the death was
viewed as coincidental with the use of OC and not the consequence of
OC. In the other death, OC exposure was identified as causing broncho-
spasm in a person with florid follicular bronchiolitis /bronchitis. In-
custody death and OC has been reviewed by Granfield, Onnen, and
Petty,"? who studied 30 deaths in an attempt to identify the role of OC
as a causative agent. In all instances, death could be attributed to other
causes, and none were identified as the result of OC. The use of OC has
come under criticism in California by the American Civil Liberties
Union, who identified 26 deaths thought to have resulted from pepper
spray.* Although pepper spray may have been used in each instance,
the role of OC remains unclear. Pepper spray is widely used by law
enforcement agencies, and at this time there is no convincing evidence
to indicate that it is inherently lethal or dangerous.

SUMMARY ~

Death in custody is the most demanding investigation that a medi-
cal examiner or coroner can perform. The investigation requires attention
to detail at the time of scene investigation and autopsy examination, as
well as a careful assessment of the toxicologic results and circumstances
of the death. Synthesis of the many facts that are developed during the
investigation should allow the medical examiner or coroner to establish
a reasonable cause of death. There can be legitimate points of disagree-
ment of interpretation because the conclusions so frequently are predi-
cated on physiologic processes and not on anatomic findings. It is
incumbent on the medical examiner and coroner responsible for investi-
gating deaths of these types to utilize all the information generated
during the investigation and to identify an appropriate cause of death.

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ORIGINAL ARTICLE

Weight Force During Prone Restraint and
Respiratory Function

Theodore C. Chan, MD,* Tom Neuman, MD,*} Jack Clausen, MD,f
John Eisele, MD,f{ and Gary M. Vilke, MD*

 

Abstract: Prone maximal restraint position (PMRP, also known as
hogtie or hobble) is often used by law enforcement and prehospital
personnel on violent combative individuals in the field setting.
Weight force is often applied to the restrained individual’s back and
torso during the restraint process. We sought to determine the effect
of 25 and 50 lbs weight force on respiratory function in human
subject volunteers placed in the PMRP. We performed a random-
ized, cross-over, controlled trial on 10 subjects placed in 4 positions
for 5 minutes each: sitting, PRMP, PRMP with 25 lbs weight force
(PMRP+25), and PRMP with 50 Ibs weight force placed on the
back (PMRP+50). We measure pulse oximetry, end-tidal co,
levels, and forced vital capacity (FVC) and forced expiratory vol-
ume in 1 second (FEV1). FVC and FEV] were significantly lower
in all restraint positions compared with sitting but not significantly
different between restraint positions with and without weight force.
Moreover, mean oxygen saturation levels were above 95% and mean
end-tidal CO, levels were below 45 mm Hg for all positions. We
conclude that PMRP with and without 25 and 50 Ibs of weight force
resulted in a restrictive pulmonary function pattern but no evidence
of hypoxia or hypoventilation.

Key Words: restraint, weight force, respiratory function

(Am J Forensic Med Pathol 2004;25: 185-189)

aw enforcement and prehospital care personnel often con-
front violent, dangerous individuals who must be physi-
cally restrained to insure the safety of the individual, as well
as those around them. A number of physical restraint tech-

 

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niques have been developed to subdue and control such
individuals in the field.’~? The prone maximal restraint posi-
tion (PMRP, also known as hobble or hogtie) position has
been used extensively by field personnel. This position places
a subject prone with wrists handcuffed behind the back,
ankles bound together, and wrists and ankles secured together
by means of as strap or other device.

Because of reports of the sudden deaths of individuals
placed in this restraint position, controversy has arisen re-
garding the PRMP.*~’ Some have argued the position ad-
versely impacts respiratory function and places individuals at
risk for a so-called “positional” or “restraint” asphyxiation by
restricting chest and abdominal movement.>? We previously
conducted a study which found that PMRP by itself resulted
in a small restrictive pattern on spirometry but had no impact
on oxygenation or ventilation in healthy subjects.

It has been suggested that additional weight force
pressure placed on the back of individuals during the restraint
process can impede chest and abdominal movement further.
Some have argued that it is this additional pressure on the
torso, along with the PMRP, that causes chest and abdominal
constriction and respiratory compromise leading to asphyxi-
ation.” In this study, we sought to investigate the impact of
weight force on the back on the respiratory function and
physiology of individuals placed in PMRP.

METHODS

We conducted a randomized, cross-over, controlled
trial at a University Medical Center pulmonary function
laboratory. Ten volunteer male subjects between the ages of
18 and 45 years were recruited to participate in the study.
Potential subjects were excluded if they were unable to be
placed in PMRP. No exclusion was made on the basis of
pulmonary or cardiovascular disease or function, or based on
body size and weight.

Each subject was placed into 4 different positions:
sitting, PMRP with no weight force, PMRP with 25 lbs of
weight force on the back (PMRP+25), and PMRP with 50 lbs
of weight force on the back (PMRP+50). Subjects were
placed in these positions in random order. For the sitting

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position, the subject sat in a chair with feet flat on the floor
and back upright against the back of the chair. In the PMRP
without weight force, the subject was placed prone on their
stomach with head turned to the side on a medical examina-
tion table. The subject’s wrists were bound together behind
the back by means of law enforcement handcuffs. The sub-
ject’s ankles were bound together and drawn up near the
wrists be means of a police restraining cuff device used by
local law enforcement, known as the maximal restraint cuff.
In PMRP+25, the subject was placed in PMRP and a 25-Ib
sandbag was placed on the back of the subject between the
scapulas. In PMRP+50, the subject was placed in PMRP and
a'40-Ib sandbag was placed on the back of the subject
between the scapulas (Fig. 1). Subjects remained in each
position for 5 minutes. After each 5-minute period, the
subject rested in the sitting position for 10 minutes before
starting the next trial.

Spirometric pulmonary function testing was performed
at 1 and 5 minutes into each position for every subject.
Measurements of forced vital capacity (FVC) and forced

 

FIGURE 1. Top, Bottom, Subject placed in PMRP with weight
force on back.

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expiratory volume in 1 second (FEV1) were obtained using a
Medgraphics Cardiopulmonary Diagnostic System (Medical
Graphics Corporation, St. Paul, MN) in accordance with the
American Thoracic Society’s standards for reproducibility
and acceptability.'° Raw spirometric data were converted to
percent predicted (YpredFVC and %predFEV1) for each
subject to normalize for height, gender, age, and race as per
standard practice.'!

Oxyhemoglobin percent saturation (SpO2) was moni-
tored using a pulse oximeter sensor placed on the index finger
(Ohmeda Biox 3740 Pulse Oximeter, Datex-Ohmeda, Hel-
sinki, Finland). Expired end-tidal CO, (etCO,) levels were
monitored by means of a quantitative CO, detector using a
Medgraphics Cardiopulmonary Exercise System CPX/D,
Medical Graphics Corporation, St. Paul, MN). SpO, and
etCO, measurements were recorded every 30 seconds during
the 5-minute period for each position.

Statistical analysis was performed using an analysis of
variance for repeated measures, with position and time as
factors. A probability value of less than 0.05 was considered
statistically significant. Data analysis was performed by
means of a computerized statistical software package soft-
ware package (STATA 6.0).

Clinically, data were also analyzed as absolute values
in comparison with normal values defined prior to the start of
the study. Hypoxemia was defined as SpO, less than 95%,
Hypercapnia was defined as etCO, levels greater than 45 mm
Hg. Spirometric measurements were considered abnormal if
they fell below 1.65 standard deviations of established pre-
dicted values. The research design and methods of this study
were approved by our University Human Subjects Committee
and institutional review board.

RESULTS

All 10 subjects recruited for this study completed each
of the 4 position trials. Subjects ranged in age from 21 to 40
years, and body mass index ranged from 21.3 to 35.3 kg/m?.
There were no exclusions of any participant or subject data.
At 1 minute into each position, mean %predFVC was lower
for all restraint positions when compared with sitting: 101%
[95% confidence interval (CI) 91.6%-110%] for sitting com-
pared with 87.1% [CI 79.7%-94.6%]| for PMRP, 84.7% [CI
76.9%-92.5%] for PMRP+25, and 84.2% [CI 75.5%-93.0%]
for PRMP+50. However, there was no difference in mean
%predFVC in the PMRP or PMRP with additional weight
force of 25 or 50 lbs (Fig. 2). Similarly, mean %predFEV1
was lower for all restraint positions when compared with
sitting: 98.2% [CI 89.6%-107%] for sitting compared with
83.4% [77.6%-89.2%] for PMRP, 81.0% [CI 73.5%-88.6%]
for PMRP+25, and 80.1% [72.1%-88.1%] for PMRP+50.
Again, there was no difference in mean %opredFEV1 in the
PMRP with and without additional weight force of 25 or 50

Ibs (Fig. 3).

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FVC

 

 

 

 

   

 

   

70% Bi min
60% @5 min
50%

40% |

eS ae

Sitting PR PR+25 PR+50

FIGURE 2. Mean %predFVC for subjects at 1 and 5 minutes
into each position.

FEV1

 

 

100%
90%}

 

 
 
  
 
 
 
  

 

80% 71
T0%7 @1 min
60% 71 5 min

 

 

 

50% 1
40% 7]
30% =

 

 

Sitting PR

FIGURE 3. Mean %predFEV1 for subjects at 1 and 5 minutes
into each position.

At 5 minutes into the position, mean Y%predFVC was
significantly lower for all 3 PMRP position compared with
sitting, but there was no difference between the restraint
positions with and without weight force: 103% [CI 92.6%-
112%] for sitting, 86.8% [CI 79.7%-93.8%] for PMRP,
82.5% [CI 74.0-90.9%] for PMRP+25, and 80.5% [CI
72.5%-88.5%] for PMRP+50 (Fig. 2). Similar findings were
seen for % predFEV1 at 5 minutes: 99.3% [CI 90.1%-108%]
for sitting, 82.2% [CI 75.0%-88.9%] for PMRP, 79.5% [CI
70.9%-88.0%] for PMRP+25, and 75.0% [CI 66.6%-82.8%]
for PRMP+50 (Fig. 3).

Clinically, mean SpO, levels remained above 95% and
revealed no evidence of hypoxemia throughout the 5-minute
trials for each position (Fig. 4). Similarly, etCO, levels remained
below 45 mm Hg and revealed no evidence of hypercapnia
throughout the 5-minute trails for each position (Fig. 5).

DISCUSSION

Although sudden deaths have clearly occurred in indi-
viduals placed in the hobble, hogtie, or PMRP, the cause of
death and the actual role of body position remain controver-

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PMRP

 

 

    
  
  
   

 

 

 

 

 

 

—+ Sitting

x —&-PR
— —@—PR+25
5 90 ye PR+50
a
“ 85

80

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minutes
FIGURE 4. SpO, during each 5-minute restraint period.

 

 

 

 

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—6— PR+25

 

 

 

 

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30 —

05 115 225 3 35 4 45 5
minutes

FIGURE 5. SpO, during each 5-minute restraint period

T T T T T

sial. Some have argued that the PMRP prevents adequate
chest wall, abdominal, and diaphragmatic movement, leading
to hypoventilatory respiratory compromise and risk for death
from so-called positional asphyxia.'* However, case reports
and case series of the sudden deaths of restrained individuals
do not clearly indicate a specific mechanism.*~’ Historical as
well as autopsy evidence is often unrevealing as to a clear
cause of death. Importantly, similar sudden deaths have been
reported in patients who were not restraint in the PMRP, but
simply in the prone, supine, lateral side, and even sitting
positions.'*:'* As a result, some have argued that factors such
as drug intoxication, excited delirium, trauma, stress, and
catecholamine hyperstimulation are more important causes of
sudden death rather than asphyxiation from body posi-
tion, 316

The theory of positional asphyxia as it relates to sudden
deaths in restraint cases has been based primarily on the
physiologic study of Reay et al,* who found that healthy

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individuals had a delayed recovery in oxygen saturation
following mild exercise. However, this study was limited by
the fact that a decrease in oxygen saturation was documented
during mild exercise, in opposition to well-established exer-
cise physiology work that has shown arterial oxygenation
improves with exercise.'’

We conducted a more comprehensive randomized
physiologic study measuring arterial oxygenation as well as
ventilation parameters, including spirometry and CO, levels.
We found no evidence of desaturation or hypoxia during
exercise or PMRP. More importantly, while there was a
progressive restrictive pattern on spirometric measurements
from sitting to supine to prone to PMRP positions, there was
no evidence of hypoventilation or hypercapnia.'* Other stud-
ies have confirmed our spirometric and respiratory measures
in relation to PMRP.'° Additionally, other investigators have
not shown evidence of hypoxia or oxygen desaturation as a
result of PMRP or restraint body position.2°-** As a result,
many now argue that “the hog-tied prone position should be
viewed as not producing significant physiologic respiratory
compromise, and it does not produce any serious or life-
threatening respiratory effects.”®

While body position by itself may not cause asphyxi-
ation, others now argue that PMRP in combination with
additional chest and abdominal compression during the re-
straint process could cause hypoventilatory respiratory com-
promise.” Proponents of this “restraint asphyxia” theory (as
opposed to “positional asphyxia”) argue that weight force
often applied to the back of an individual restrained in the
prone position during the restraint “take-down” process could
potentially cause greater constriction of the torso and decre-
ment in ventilatory function to the point of asphyxiation.”

Deaths from the application of weight to the torso have
been described in the medical literature.”* The term traumatic
or mechanical asphyxiation has been applied to cases in
which extreme weight force was applied to individuals, such
as when an automobile runs over the torso of an individual.
However, in these cases, there is often pathologic evidence of
chest trauma (pulmonary contusion, rib fractures) or in-
creased intrathoracic pressure affecting venous return and
cardiovascular function (plethoric facies, edema, and rup-
tured small blood vessels above the shoulders),”*

In this study, we sought to determine if additional
weight force on the back of an individual in the PMRP
resulted in any evidence of respiratory compromise or risk for
asphyxiation. Similar to previous studies, we found a restric-
tive pulmonary function pattern with PMRP but no significant
further detriment in spirometric measures of FVC and FEV1
with the addition of 25 and 50 lbs of weight force on the back.
More importantly, we found no evidence of hypoxia, oxygen
desaturation, hypercapnia, or CO, retention from hypoventi-
lation in the PMRP with the additional weight force.

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Our study has limitations. First, as this was a laboratory
physiology study, we could not reproduce all conditions
encountered in the field setting with such cases. In particular,
we did not simulate trauma, struggle, drug intoxication, and
other physiologic and psychologic stresses that commonly
occur with individuals who are being restrained in the field
setting.

Second, the amount of weights selected for this study
may not reproduce the actual amount of weight force used on
individuals during the restraint process. It is possible that
heavier amounts of weights would have impacted respiratory
function to a greater degree. Similar to traumatic or mechan-
ical asphyxia cases, extreme amounts of weights could have
resulted in significant chest wall trauma and marked eleva-
tions in intrathoracic pressure that could have impacted car-
diovascular function. To our knowledge, this is the first
laboratory investigation studying the effects of weight force
during restraint. As a result, we chose weight amounts which
we felt would approximate weight force used in the field
setting, heavy enough to indicate any trends if respiratory
function was impacted, but not so heavy as to potentially
place our subjects at risk for injury.

CONCLUSION
We conducted a study on the impact of weight force
placed on the back of individuals in the PMRP on pulmonary
and respiratory function. We found that weight force of 25
and 50 lbs did not result in evidence of hypoxia or hypoven-
tilatory respiratory compromise in our study subjects.

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Sudden In-Custody Death

Syndrome

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This article discusses the existence of excited delirium in combination with other factors such as
alcohol/drug use, physical condition of subject/patient, and the use of physical or mechanical re-
straints that could lead to a potentially fatal condition known as sudden in-custody death syndrome.
The article reviews predisposing factors in combination with potentially hazardous actions by law
enforcement and healthcare providers that have led to sudden in-custody death syndrome. It is up
to those coming in contact with these subjects/patients who exhibit excited delirium states to be
aware of the behaviors and further assess for other precipitating risk factors that may require fur-
ther medical attention. Key words: adverse effects, alcohol, asphyxia, cocaine, death, delirium,

physical restraints

ESTRAINT ASPHYXIA or positional as-

phyxia (asphyxiation death while in a
prone position and hog-tied restraints in
whole or in part from respiratory compro-
mise)! (Fig 1) are terms generally used to de-
scribe a diagnosis after death when there are
many contributing factors but the primary
cause of death seems to be related to the re-
straint process. The concept of asphyxia due
to restraint arose when it was recognized that
being in the prone position could severely re-
strict breathing and compromise cardiac func-
tion in an agitated person.” Interference in
the body’s ability to breath (interaction of the
chest wall, diaphragm, and muscles of the
rib cage and the abdomen) causes a hypoxic
state. This changes the body chemistry and
can create a fatal heart rhythm.’ In the mid-
1990s, unexpected deaths while in custody

 

From the Emergency Department, Saint Mary's
Regional Medical Center, Reno, Nev.

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ical Center, Tim Mayes, Reno Police Department, Mary
Harcinske, MBA, RN, and Matt Robison, restrained
subject.

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restraint where the autopsy and toxicology
failed to lead to a definitive diagnosis were
often labeled with “sudden in-custody death
syndrome” (SICDS).°

Sudden in-custody death syndrome was
first used to describe unexplained deaths
when police were involved. It was first ob-
served in 1982, when investigators in Seattle,
Wash, described the sudden death of people
in states of acute psychiatric agitation and hy-
peractivity when being restrained by law en-
forcement officers. These individuals exhib-
ited a form of behavior disturbance that went
beyond the distressed states that police gener-
ally encounter.’ The victims are generally de-
scribed as being unusually aggressive. They
do not respond appropriately to reasoning
or commands and exhibit unusual strength.
They inspire fear in those who know them;
however, they are fearful themselves past the
point of paranoia. They may be hallucinating
and have a history of bizarre behavior, but the
episode prior to death is far beyond their pre-
vious experiences (Table 1).

The police were notified because the sub-
ject was acting in a destructive manner, ¢i-
ther to himself or his environment. The arrival
of the police may worsen agitation. The para-
noia of the manic person will be reinforced by
the attempt of the law enforcement to make
the person conform. This prompts further and
more destructive behavior.
 

Figure 1. Subject is in a hog-tie or suitcase restraint
and placed in a prone position.

The mechanism of the spiral into the
unusually aggressive behavior is unknown.
The behavior may be precipitated by acute
psychosis. The use of cocaine, metham-
phetamines, or phencyclidine, alone or in
combination, may also help precipitate the
event leading to SICDS. Alcohol and depres-
sant drugs, statistically, may be involved but
do not create the hyperexcitability required
to create the excited delirium state. Another
contributing factor named is the use of an-
tipsychotic drugs, or neuroleptics (Table 2).
Although neuroleptics may contain the psy-
chiatric behavior of the patient, there are
serious side affects. These include arrhyth-
mias, vascular collapse, and asphyxia related
to factors such as an impaired gag reflex and
laryngeal-pharyngeal dystonia. Also known as
neuroleptic malignant syndrome, patients suf-
fering from this syndrome present in a manner

Table 1. Behaviors exhibited during the pre-
death situation

 

Paranoia/mania

History of psychiatric issues

Extreme aggression

Unusual strength

Inability to respond appropriately to reason
Destructive behavior

History of drug abuse

 

 

 

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Table 2. Contributing factor: Neuroleptics

 

 

Generic name Trade name
Chlorpromazine Thorazine
Thioidazone Mellaril
Fluphenazine Prolixin
Thioxanthene Navane
Haloperidol Haldol
Respiradone Respiradol
Clozapine Clozaril
Olanzapine Zyprexa
Seroquel

 

 

 

very similar to excited delirium. Physical ex-
haustion, dehydration, and organic brain dis-
ease are additional predisposing factors.
Symptoms include hyperthermia, fluctuat-
ing levels of consciousness, and hypotonicity.
However, while that may be one of the
causes of a sudden death, it is not necessar-
ily implicated in the exhaustive manic, and,
in fact, may be a contributing factor to saving
the life of the psychotic patient who may be
heading toward the excitable delirium state.
A syndrome of sudden death of psychiatric
patients, called acute exhaustive mania, also
known as lethal catatonia, was noted prior
to the introduction of antipsychotic medica-
tion. Dr Luthor Bell at the McLean Asylum
in Massachusetts first described the condition
in 1849.° The psychotic individual may also
exhibit the signs of acute exhaustive mania
without having used neuroleptics. It is con-
tended that psychological stress can induce
fatal cardiac arrhythmias. The psychotic in-
dividual with these symptoms is considered
to be in a life-threatening emergency and the
patient should be transported immediately to
the emergency department. It is also noted
in this article that psychiatric patients can be
at risk for many health problems secondary
to their living conditions. They may have
preexisting cardiac disease, or general phys-
ical disability secondary to lifestyle. When
the patient enters the state of excitable ma-
nia, the increased release of epinephrine and
norepinephrine and the increased vagal and
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Table 3. Excitable mania

 

Increased epinephrine release
Increased norephinephrine release
Increased vagal stimulation
Increased adrenergic stimulation
Increased myocardial excitability
Eventual cardiac failure

 

 

 

adrenergic stimulation may increase myocat-
dial excitability and lead to fatal cardiac ar-
rhythmia (Table 3).

ELECTRICAL/CHEMICAL RESTRAINTS

Capsicum spray has also been named as a
possible influence in the SICDS victim, with-
out being the sole agent of the death. In
1991, the International Association of Chiefs
of Police (ACF) issued an executive brief, “Re-
sponding to the need for a less than lethal al-
ternative, police departments throughout the
country have adopted Oleoresin Capsicum
(OC) or pepper spray as a force option. =
When deaths began to occur after the use of
OC spray, a task force was formed to provide
data regarding the use of OC by police, and
its influence in the death of persons in the ex-
citable manic state. The [ACF studied 30 cases
over the period of 1990 to 1993 Cig 2).

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25
20
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It was noted that in the majority of these
cases, the OC was ineffective. All subjects be-
haved in a bizarre and combative manner and
struggled with the police. The OC was listed
in all cases as to be a noncontributing factor
and not a cause of death. The cause of death in
the majority of the cases was determined to be
positional asphyxia, aggravated by drugs, dis-
ease, and/or obesity. Steffee et al determined
that OC was an associated contributing factor
in unexpected deaths among those exhibiting
excited delirium, particularly those with heart
disease.®

In the late 1990s, the use of taser stun guns
became prevalent in law enforcement. Again
touted as a safe way to restrain the combative
or violent subject, it was believed that there
would be a decrease in subject as well as of-
ficer injury. On October 12, 2004, The Ari-
zona Republic published a list of 73 cases
of death following taser stun gun use. Dating
from September 1999 to October 2004, the
commonalities are noted (Fig 3).

The use of restraint is mentioned only 29
times, but it would certainly make sense that
it was used more number of times than the
brief histories report. Obviously in all cases
Taser was used. There is very little research
regarding the effect of electricity in the sub-
ject in a excited delirium state. Certainly, in
the situation of cardiac dysrhythmia, the use
of electricity may contribute to the end lethal

 

 

Elage Nrestraint Hdisease Mmale Meffectiveness of goc |

 

Figure 2.
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18-30 31-40 41-50

Sudden In-Custody Death Syndrome 39

 

Omales

Mdrug use

Ei restraint

M med issues

fi unk cause of death

 

 

 

50+

Figure 3.

result. It is of note that 11 of the 73 deaths
seemed to occur immediately after Taser use.

In 1998, the Canadian Medical Associa-
tion Journal published a study done on 21
subjects that fit the excited delirium criteria
from 1988 to 1995 (Fig 4).

It was concluded from this study that peo-
ple with cocaine use or psychiatric illness may
require more oxygen and may suffer a rapid
anoxic death if restraint is used.?

PHYSICAL RESTRAINT

A study done in Los Angeles County be-
tween 1992 and 1998 did not have many in-
cidences of SICDS but of the 22 sudden death
situations during that time, all were instances
of the victim having been hobble restrained.
One victim had a significant thrombosis and
was excluded from the study. Another had lig-
ature marks around the neck and was also ex-
cluded. The remaining 20 were found by EMS
personnel in a prone position with hobble
restraints on.'° Asphyxiation, the most com-

 

mon cause of restraint-related death, is termed
“restraint asphyxia” in the forensic and emer-
gency literature.'! Restraint asphyxia is deter-
mined on the basis of the historical events
leading up to the episodic event of physical
struggle. Generally, the body’s position inter-
feres with respiration. In the forensic litera-
ture, usually the body was in the prone po-
sition not allowing adequate breathing. The
cases of fatal positional asphyxia studied were
those that had occurred in individuals trans-
ported in the prone position by law enforce-
ment personnel.!* However, other positions,
including a bent neck with flexion toward
the chest, and external airway obstruction or
neck compression, where the victim was not
able to release himself from the compromis-
ing position, have also been noted to be con-
tributing factors’? (Table 4).

Upper-body holds (ie, the carotid hold and
the choke or bar-arm control hold) are not
commonly employed law enforcement tech-
niques, and have been used for more than
30 years to subdue suspects resisting arrest

 

males

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drug use

moc

chest pres. Restraint
psych issues

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unable to rescuc.
Wdied later

 

 

 

Figure 4.
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Table 4. Positions contributing to death by
restraint asphyxia

Table 6. Physiological changes with cocaine
use

 

Prone position, hog tied
Neck flexed toward chest
External airway obstruction
Neck compression

 

 

 

or to control combative behavior. The holds
are intended to be used to render temporary
unconsciousness, but not as fatal maneuvers.
Pressure applied to the carotid artery area
impedes blood flow, which could produce
carotid sinus stimulation and result in brady-
cardia and cardiac arrest.!*1> Suffocation and
aspiration may also occur in persons having
an altered or decreased level of conscious-
ness, interfering with their ability to protect
their airway.

COCAINE USE

With cocaine use, the episode of excited
delirium is most often seen at the end of one
or more days of drug use. Cocaine levels may
be low or undetectable. The effects of the
cocaine on the brain’s neurotransmitters lead
to a loss of thermoregulatory control and al-
ter the thought process. If the patient is not
breathing rapidly, is not sweating, and is not
tired after a struggle with the police, while the
officers are all showing these changes, there is
a high likelihood of impending collapse. Body
temperature has a high correlation to a disor-
dered central nervous system regulatory pro-
cess, leading to a loss of thermal regulation
and hyperthermia (Table 5).

Table 5. Signs and symptoms of impending
collapse with cocaine use

 

Absence of tachypnea when patient should
be breathing heavily secondary to
increased activity

Normal body temperature

Lack of perspiration after sustained physical
activity

 

 

 

Disrupts dopaminergic function
Precipitates agitation

Delirium

Aberrant thermoregulation
Rhabdomyolysis

Sudden death

 

 

 

Cocaine disrupts dopaminergic function
and may precipitate agitation, delirium, aber-
rant thermoregulation, rhabdomyolysis, and
sudden death (Table 6).

One of the organs that principally get tar-
geted by cocaine toxicity is the heart. Cocaine
is known to produce coronary artery spasm.!°

In early 1994, Washoe County Sheriff's De-
partment (Nevada) encountered a male sub-
ject who fit the criteria for excitable delirium
(Fig 5). During the use of restraint and af-
ter struggle the subject died. The information
was beginning to be disseminated through-
out the United States regarding the SICDS and
the problematic use of restraints. In response,
the department created the policy that if sub-
jects met certain criteria, they would be trans-
ported to area emergency departments and
put under observation. Sheriff Diane Nichol-
son feels that this policy has greatly improved
the quality of care given to the manic sub-
ject. They also changed the policy of prone re-
straint and hog-tying restraint. In spite of this,
in August 2004, a. male subject died in cus-
tody after a struggle with the police. Accord-
ing to The Reno Gazette Journal, August 20,
2004, the coroner’s report stated the victim
died of a heart attack secondary to metham-
phetamine use. Taser, restraint, and pepper
spray were also used on this person.’ The vic-
tim died prior to EMS arrival on the scene. The
fact remains that there are circumstances and
times when, despite the police department’s
best intentions, death occurs. Consequently,
officer awareness and recognition are neces-
sary to ensure subject safety and minimize
the risk of sudden custody death. With that
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Sudden In-Custody Death Syndrome 4]

Use this scale to help determine the need for closer observation. Begin at the first observed sign
or symptom. Add the numbers for each sign or symptoms that applies.

 

1 Score 16 or above: Subject is at EXTREME RISK
for sudden in-custody death syndrome (SICDS).
Immediate medical attention is necessary.

Score 10-16: Subject is at HIGH RISK for
SICDS. Immediate evaluation by EMS personnel
is necessary. Medical treatment may be
warranted. Subject must be monitored closely.

History of

Score 5-10: Subject is at MODERATE RISK
another officer familiar with the Risk Assessment
Scale and SICDS. Subject should be monitored
by police and Detention Staff.

Score 0-5: Subject is at LOW RISK for SICDS,
based on known risk factors. Personnel should be
watchful for any signs of distress that would

3 preclude the assessment scale.

 

 

 

 

IMPORTANT: THE FOLLOWING CONDITIONS NECESSITATE IMMEDIATE
MEDICAL ATTENTION:

e Profuse sweating and shivering

e Loss of consciousness

e Seizure

e Respiratory rate below 6 per minute

e Severe headache

e Chest pain

« Obvious respiratory distress

e Gagging, coughing, or choking lasting more than 4 minutes after OC spray

Figure 5. In-custody death: Risk assessment scale.

cordingly. If the patient makes the statement
“I can’t breathe” or “I am going to die,” he is

information, the use of hog-tying restraint and
neck holds have been reintroduced as a way

of restraint in Reno, Nev. The restraint process
is recognized as being necessary at times. The
take home message is: “Knowledge is safety.”
The subject is placed in a lateral position
with a police officer in attendance at all times
(ig 6). The subject is considered one-on-one
with the police, is a critical patient, and is
cared for as a one-to-one nurse to patient ratio.
The patient remains restrained and with an of-
ficer until the desired response is obtained.
The police are also cognitive of the signs of
impending collapse and release the subject ac-

reevaluated and released immediately.

The sudden death after an episode of ex-
cited delirium is due to a combination of phys-
iological events. The event is precipitated by
psychotic breakdown or as a result of drug
use. There is an increase in oxygen demand
secondary to the profound increase in activity.
There is increased epinephrine and nore-
pinephrine release into the system. The car-
diac oxygen demands become intense, with-
out an opportunity to rest and resupply. The
heart rate and respiratory rate increase. With
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Figure 6. Subject is placed in left lateral position,
with hog-tie restraints. Respiratory status is evalu-
ated routinely.

a prone restraint, the diaphragm is inhibited
and is unable to expand and allow for oxy-
genation. Panic and increased oxygen demand
occurs and, after a relatively short amount of
time, there is cardiac and respiratory collapse.
Autopsy reports are nonspecific for injury.
Positional asphyxiation is determined after
obtaining a history surrounding the cause of
death. The cause of death for these individ-
uals is similar to the positional asphyxia that
occurs when an alcoholic becomes stuporous
and falls into a position that creates respira-
tory compromise. This can also occur with
epileptic patients who are unable to control
their airways. Medical examiners argue that
people who die of excited delirium death syn-

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drome while restrained are not victims of in-
competence or brutality, but rather victims of
their own long-term drug use, which resulted
in a strained heart that further exacerbated
the victim’s condition.'”

This article focused on the definition of
SICDS, its clinical manifestations, contribut-
ing factors leading to a diagnosis of SICDS,
and interventions to be employed when an
individual is in custody. Overall, multiple fac-
tors have been associated with sudden death
when a person is restrained and is in an ex-
cited delirium state. These individuals are at
a high risk for sudden death. Law enforce-
ment officers and hospital personnel should
be aware of the risks associated with restraints
in subjects/patients in an excited delirium
state. Careful screening and monitoring of
these people and use of appropriate commu-
nication techniques need to be immediately
initiated. If upper-body holds or prone posi-
tion restraining are warranted and used by
those specifically trained in these techniques,
diligent monitoring and observation of these
subjects must be done. Immediate medical at-
tention and examination needs to take place
if the person meets assessment criteria for his
condition to exacerbate to a worsening and
potentially deadly state. By implementing pro-
cedural protocols, the potential for SICDS may
decrease.

 

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